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                            UNITED STATES DISTRICT COURT
             ~ ~l              ~ ENTRAL DISTRICT OF CALIFORNIA
    14 ~'7~
    I~~, .DISTRICT COURT ~'            WESTERN DIVISION
    i~ i. RIOT Of CALiFOR(V~P,
 BY                      .~r~,~A,Individually and      Case No.: CV 07-2536 PSG
          On Behalf of All Others Similarly Situated, (PLAx)
    17
    18                           Plaintiff,             Honorable Philip S. Gutierrez
   19          vs.                                      CONSOLIDATED
   20                                                   AMENDED CLASS
         AMGEN INC., et al.,                            ACTION COMPLAINT FOR
   21                                                   VIOLATION OF FEDERAL
   22                             Defendants.           SECURITIES LAWS
   23                                                   DEMAND FOR JURY
   24                                                   TRIAL
         THIS DOCUMENT RELATES TO:
   25
   26          ALL CASES                                    DOC         K ON ~'_M
    27                                                           p~~(_ 3 2001
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        1          Lead Plaintiff Connecticut Retirement Plans and Trust Funds("Plaintiff'
                                                                                                   or
     2 "Connecticut"), by its undersigned attorneys, hereby brings this Consolidated
     3 Amended Class Action Complaint("Complaint") against Amgen,Inc.("Amg
                                                                          en"
     4 or the "Company"), Kevin W. Sharer, Richard D. Nanula, Dennis M. Fenton
                                                                              ,
     5 Roger M.Perlmutter, Brian M. McNamee, George J. Morrow, Edward
                                                                      V. Fritzky                      ,
     6 Gilbert S. Omenn, and Franklin P. Johnson, Jr.(collectively, the "Individual
     7 Defendants" and together with Amgen,"Defendants"). The allegations
                                                                          herein                  are
     8       based on Plaintiff's personal knowledge as to its own acts and on information
                                                                                       and
     9 belief as to all other matters, such information and belief having been inform
                                                                                      ed by
    10 the investigation conducted by and under the supervision of its counse
                                                                              l, which
    11       included interviews of former employees of Amgen and other persons with
    12 knowledge of the matters alleged herein(some of whom have provided
    13 information in confidence; these confidential witnesses("CWs")wili be
                                                                                       identified
    14 herein by number(CW#1,CW#2,etc.)), review and analysis of publicl
                                                                         y             available
    15      information, and consultations with experts. Plaintiff believes that substan
                                                                                        tial
    16 additional evidentiary support will exist for the allegations set forth herein
                                                                                      after
                                                                                        a
    17 reasonable opportunity for discovery. On behalfof itself and the
                                                                        class it seeks to
   18 represent, Plaintiff alleges as follows:
   19                                  NATURE OF THE ACTION
   20             1.      This action is brought on behalf of a class of purchasers ofthe
   21       publicly traded securities of Amgen who bought their shares between April
                                                                                           22,
   22 2004 and May 10, 2007, inclusive (the purchasers being the "Class
                                                                        " and         the
   23 timeframe being the "Class Period"). Plaintiff seeks remedies under the
                                                                                      Securities
   24 Exchange Act of 1934 (the "Exchange Act"). Defendants, with the requisi
                                                                              te
   25 mental state per the Exchange Act, made a series of materially false
                                                                           and
   26 misleading statements and omissions during the Class Period which
                                                                        artifici           ally
   27 inflated the value of Amgen's stock; later disclosures caused the
                                                                        stock       price to
   28 decline, causing Plaintiff and the Class injury.

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         1          2.      Amgen and the Individual Defendants misled and defrauded
        2 investors concerning two ofthe Company's flagship products — Epogen~ (epoetin
        3 ' alfa)("Epogen")and Aranesp~ (darbepoetin alfa)("Aranesp"). Manufactured by
        4 recombinant DNA technology, Epogen and Aranesp are slightly different versions
        5 ofa human protein that stimulates the production ofred blood cells. They are used
        6 to combat anemia and thus avoid transfusions in certain patient populations
        7 (primarily patients with chronic kidney disease or cancer patients with
        8 chemotherapy-induced anemia ("CIA")).
        9          3.       During the Class Period, Defendants systematically misrepresented
       10 to investors both the safety and market demand for Epogen and Aranesp. First,
       11    they ~iowingly concealed material information concerning a clinical trial of
       12 Aranesp known as DAHANCA 10. The study was designed to see whether high
       13 doses of Aranesp could aid in shrinking the tumors of certain cancer patients
       14 receiving radiation therapy. The investigators conducting the study halted it early
       15 and an interim analysis showed the opposite: cancer patients treated with Aranesp
       16 had greater tumor growth than those not receiving Aranesp. Overall survival time
       17 also favored those not treated with Aranesp.
       18          4.       Amgen knew in mid-October 2006 that DAHANCA 10 had been
       19 temporarily halted, and it knew by early December 2006 that the study had been
       20 terminated early. Amgen did not inform investors ofthese developments.
      21     Information concerning DAHANCA 10 finally reached the market when a
       22 newsletter called The Cancer Letter published an article concerning the results of
      23 the study inmid-February 2007 —four months after Amgen had been informed
      24 the study had been temporarily halted, and two-and-a-half months after Amgen
      25     learned that the decision had been made to terminate the study altogether.
      26           5.      Second, Defendants misled investors concerning another highly
      27 material clinical trial of Aranesp known as the 103 Study. Defendants
      28     mischaxacterized the results of the 103 Study, stating that they were "at best,

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     1    neutral and perhaps negative." (Emphasis added.) In fact the study was an abject
     2 failure for Aranesp. In patients with anemia ofcancer (i.e., anemia caused by
     3 cancer rather than by chemotherapy),those receiving Aranesp did not reduce their
     4 need for transfusions and showed significantly shorter survival times compared to
     5 patients whose anemia was treated with transfusion support.
    6          6.       Defendants' mischaracterization of the 103 Study and concealment
    7 ofDAHANCA 10 highlight a broader effort by them to hide from investors and the
    8 public substantial safety concerns associated with Epogen and Aranesp. These
    9 concerns had been raised by the U.S. Food and Drug Administration("FDA")
   10 three years earlier and were known to Amgen, which had participated in a meeting
   11    with the FDA and its advisory board of leading oncology experts —the Oncology
   12 Drug Advisory Committee, or ODAC — in 2004.
   13          7.      Both Epogen and Aranesp are members of a drug class known as
   14 ESAs. The original clinical trials conducted to obtain initial FDA approval for
   15 ESAs demonstrated that the drugs were effective in helping certain anemic patients
   16 build their red blood cell levels and thereby avoid transfusions. Although the trials
   17 collected safety data, as all clinical trials do, they were not designed for the
   18 purpose of measuring whether the study drug was safer than placebo in any
   19 clinically meaningful sense. In other words, the trials were not designed to
   20 measure, as between study-drug patients and placebo patients, which groups had
   21    greater frequency or severity ofsignificant events affecting how patients function
   22 or survive. Examples of these significant events or "clinical endpoints" would
   23 include cardiovascular events such as heart attacks or strokes, or overall survival
   24 rates.
   25          8.      Following FDA approval ofEpogen (in 1989)and Aranesp (in
   26 2001), several large-scale clinical trials of other ESAs showed an apparent excess
   27 of adverse events associated with the use this class of drugs, namely decreased
   28 overall survival, increased progression oftumor growth andlor increased frequency

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     1       of cardiovascular events. These "safety signals" raised within the FDA concerns
    2 that this class ofdrugs may,in fact, be less safe than placebo when specifically
    3 testing to measure for clinically significant endpoints.
    4              9.      Amgen knew that definitive clinical data on survival rates and other
    5 clinically significant endpoints was lacking and that the relevant studies that did
    6 exist pointed to significant safety concerns. Despite this, Amgen touted the safety
    7 of Aranesp and Epogen throughout the Class Period, as well as Aranesp's vast
    8 untapped potential both to(a)further penetrate the markets in patient populations it
    9 was already approved to treat, and(b) grow its sales through expanding into new
   10 patient populations. Given the outstanding core safety questions, these statements
   11        were both highly material(Amgen's ESA franchise represents roughly half its
   12 bottom line) and highly misleading.
   13              10.     Finally, Amgen's statements concerning its sales practices and
   14 market growth potential constituted a fraud on investors for another reason: the
   15 Company promoted Aranesp and Epogen for unapproved uses and increased per- i
   16 patient dosages through improper and, in some cases, unlawful means. The Food,
   17 Drug, and Cosmetic Act and accompanying regulations prohibit the promotion of a~
   18 drug for "off-label" uses, i.e., for indications, dosage forms, dose regimens,
   19 populations or other use parameters not mentioned in the FDA-approved labeling.
   20 Amgen's filings with the Securities and Exchange Commission("SEC")state that
   21 "We ...also manufacture and contract manufacture, price, sell, distribute, and
   22 market or co-market our productsfor their approved indications." (Emphasis
   23 added.)
   24              1 1.    However, throughout the Class Period, Amgen encouraged and
   25 actively promoted the off-label usage of its products in a variety of unlawful ways,
   26 including: training its sales representatives on how to engage physicians in
   27 discussions ofthe off-label uses of Amgen's products; having its sales force
   28 recommend dose increases to achieve excessive target hemoglobin levels;

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    1   sponsoring pseudo-educational "speaker programs" for doctors and other medical
    2 services providers touting the use of Aranesp in off-label settings; and marketing
    3 ESAs by showing doctors how they could increase their profits through increased
    4 Medicare reimbursements by prescribing larger quantities of the drugs. Amgen
    5 also designed rebate programs that improperly incented physicians to administer
    6 Aranesp when it was not necessary to do so.
    7                                        PARTIES
    8 Plaintiff
    9          12      Lead Plaintiff Connecticut purchased Amgen common stock at
   10 artificially inflated prices during the Class Period and has, accordingly, been
   11   damaged by Defendants' wrongful conduct. Attached hereto is a certification
   12 reflecting Plaintiffs transactions in Amgen common stock during the Class Period.
   13 Defendants
   14          13.     Defendant Amgen is a global biotechnology company. According
   15 its website(www.amgen.com),the Company "discovers, develops, manufactures
   16 and markets human therapeutics based on advances in cellular and molecular
   17 biology." Amgen markets its products in the areas of supportive cancer care,
   18 nephrology, inflammation and oncology. The Company's principal products
   19 include Aranesp, Epogen, Neulasta~(pegfilgrastim)("Neulasta"), Neupogen~
   20 (filgrastim)("Neupogen")and Enbrel~ (etanercept}. The Company markets its
   21 ' principal products to healthcare providers, including clinics, dialysis centers,
   22 hospitals and pharmacies. Amgen is a Delaware corporation with its principal
   23   place of business at One Amgen Center Drive, Thousand Oaks, California.
   24          14.     Defendant Kevin W. Sharer("Sharer") was, at all relevant times,
   25 '~ Amgen's President, ChiefExecutive Officer and Chairman of the Company's
   26 Ii Board of Directors. Sharer became Amgen's Chairman in Apri12000. Sharer was
   27 a direct and substantial participant in the fraud, who also profited from the sale of
   28 Amgen securities at artificially inflated prices during the Class Period and received

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     1   substantial revenue-based bonuses and other compensation that was artificially
     2 increased by the wrongful conduct set forth herein. During the Class Period,
     3 Sharer sold approximately 1.2 million shares of Amgen stock, recognizing more
     4 than $96.8 million in proceeds. In addition, Sharer signed and certified, as
     5 required by Section 906 ofthe Sarbanes-Oxley Act of2002("SOX"),the
     6 ~i Company's Annual Reports on Form 10-K for the years 2004,2005 and 2006,
     7 ,I which the Company filed with the SEC during the Class Period and which
     8 contained materially false and misleading statements and/or omissions. Sharer al
     9 certified, as required by Section 906 ofSOX,the Company's Form 10-Qs for the
    10 second and third quarters in 2004,for the first, second and third quarters in 2005
    11   and 2006, and for the first quarter in 2007.
    12         15.     Defendant Richard D. Nanula("Nanula") was the Company's Chief
    13 Financial Officer from the beginning ofthe Class Period through the date of his
    14 resignation from Amgen on April 10, 2007. Nanula was a direct and substantial
    15 participant in the fraud, who also profited from the sale of Amgen securities at
   16 artificially inflated prices during the Class Period and received substantial revenue-
   17 based bonuses and other compensation that was artificially increased by the
   18 wrongful conduct set forth herein. During the Class Period, Nanula sold 210,000
   19 shares of Amgen stock, recognizing more than $13.6 million in proceeds. In
   20 addition, Nanula signed the following documents that the Company filed with the
   21    SEC during the Class Period and which contained materially false and misleading
   22 statements and/or omitted to state material facts: the Company's Annual Report on
   23 Form 10-K for the years 2004, 2005 and 2006 and the Company's Form 10-Q for
   24 the second and third quarters in 2004 and for the first, second and third quarters in
   25 2005 and 2006. Nanula also certified, as required by Section 906 of SOX,the
   26 Company's Annual Reports on Form 10-K for the years 2004,2005 and 2006 and
   27 the Company's Form 10-Qs for the second and third quarters in 2004 and for the
   28 first, second and third quarters in 2005 and 2006.

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     1              16.     Defendant Dennis M.Fenton ("Fenton") was, at all relevant times,
     2 the Company's Executive Vice President of Operations. Fenton was a direct and
     3 substantial participant in the fraud, who also profited from the sale of Amgen
     4 securities at artificially inflated prices during the Class Period and received
     5 , substantial revenue-based bonuses and other compensation that was artificially
     6 increased by the wrongful conduct set forth herein. During the Class Period,
     7 ~ Fenton sold 409,642 shares of Amgen stock, recognizing more than $28 million in
     8 proceeds.
     9             17.     Defendant Roger M.Perlmutter ("Perlmutter") was, at all relevant
    10 times, the Company's Executive Vice President of Research and Development.
    11       Perlmutter was a direct and substantial participant in the fraud, who also profited
    12 from the sale of Amgen securities at artificially inflated prices during the Class
    13 Period and received substantial revenue-based bonuses and other compensation
    14 that was artificially increased by the wrongful conduct set forth herein. During the
    15       Class Period, Perlmutter sold 150,979 shares of Amgen stock, recognizing more
    16 than $12 million in proceeds.
    17             18.     Defendant Brian M. McNamee("McNamee") was, at all relevant
    18 times, the Company's Senior Vice President of Human Resources. McNamee was
    19 a direct and substantial participant in the fraud, who also profited from the sale of
   20 Amgen securities at artificially inflated prices during the Class Period and received
   21        substantial revenue-based bonuses and other compensation that was artificially
   22 increased by the wrongful conduct set forth herein. During the Class Period,
   23        McNamee sold 206,485 shares of Amgen stock, recognizing more than $15.8
   24 million in proceeds.
   25              19.     Defendant George J. Morrow ("Morrow") was, at all relevant times,
   26 the Company's Executive Vice President of Global Commercial Operations.
   27 Morrow was a direct and substantial participant in the fraud, who also profited
   28 from the sale of Amgen securities at artificially inflated prices during the Class


         1   COMPLAINT FOR VIOLATION OF FEDERAL SECURITIES LAWS
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        1    Period and received substantial revenue-based bonuses and other
                                                                          compensation
     2 that was artificially increased by the wrongful conduct set forth
                                                                         herein. During the ~
     3 Class Period, Morrow sold 303,335 shares of Amgen stock,
                                                                     recognizing more than
     4 $24.6 million in proceeds.
     5             20.     Defendant Edward V. Fritzky ("Fritzky") was, at all relevant
                                                                                            times,
     6 a member of the Company's Board of Directors. Fritzky was
                                                                 a             direct and
     7 substantial participant in the fraud, who also profited from the
                                                                        sale      of Amgen
     8 securities at artificially inflated prices during the Class Period. Durin
                                                                                    g the Class
     9 Period, Fritzky sold 943,942 shares of Amgen stock, recognizin
                                                                      g         more than $54.6
    10 million in proceeds. Fritzky signed the Company's Annual
                                                                Report on Form              10-K
    11       for 2004, which contained materially false and misleading state
                                                                            ments and/or
    12 omissions.
    13             21.     Defendant Gilbert S. Omenn("Omenn") was, at all relevant times
                                                                                                  ,a
    14 ', ~ member ofthe Company's Boaxd of Directors. Omenn was a
                                                                          direct and
    15 participant in the fraud, who also profited from the sale of Amge
                                                                         n       securities at
    16 artificially inflated prices during the Class Period. During
                                                                    the   Class Period,
    17 Omenn sold 22,805 shares of Amgen stock, recognizing
                                                            more than    $1.5 million in
   18 proceeds. Omenn signed the Company's Annual Report
                                                             on Form 10-K for the years
   19 2004, 2005 and 2006, all of which contained materially
                                                             false and misleading
   20 statements andlor omissions.
   21             22.     Defendant Franklin P. Johnson, Jr.("Johnson") was, at all relevant
   22 times, a member ofthe Company's Board of Directors. Johns
                                                                on was             a direct and
   23 substantial participant in the fraud, who also profited fro
                                                                  m the   sale of Amgen
   24 securities at artificially inflated prices during the Class Perio
                                                                        d. During the Class
   25 Period, Johnson sold 603,400 shares of Amgen stock, recognizin
                                                                            g more than $25.4
   26 million in proceeds. Johnson signed the Company's Annua
                                                                     l Report on Form 10-K
   27 for the years 2004 and 2005, both of which contained
                                                                materially false and
   28 misleading statements and/or omissions.

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        1                 CONTROL PERSON ALLEGATIONS/GROUP
                                                                              PLEADING
        2            23.     The Individual Defendants, because of their positions of
                                                                                           control and
        3 I authority as senior executive officers and directors of
                                                                   the Company, had access to
        4 1 the adverse undisclosed information about its business,
                                                                     operations, products and
        5 prospects through their access to internal corporate docu
                                                                    ments and       information
     6 (including information concerning Aranesp and Epog
                                                                      en), conversations and
     7 associations with other corporate officers and empl
                                                           oyee         s, attendance at
     8        management and Board of Directors meetings and committe
                                                                            es thereof, and reports
     9 and other information provided to them in connection
                                                                      therewith.
    10              24.      The Individual Defendants participated in drafting, prepa
                                                                                      ring, and/or
    11        approving the public reports and other statements and comm
                                                                          unications complained
    12        of herein and were aware of, or recklessly disregarded, the
                                                                          material misstatements
    13        contained therein and omissions therefrom, and were awar
                                                                         e oftheir materially
    14        false and misleading nature.
    15              25.     The Individual Defendants, as senior executive officers
                                                                                      and
    16 ofthe Company, were able to and did control the
                                                       content           ofthe various SEC
    17 filings, press releases, and other public statements
                                                            perta      ining to the Company
    i8 during the Class Period. The Individual Defendan
                                                        ts were           provided with copies of
    19 the documents and statements alleged herein to be
                                                         mater         ially false and misleading
   20 prior to or shortly after their issuance or had the abili
                                                                ty     and opportunity to prevent
   21        their issuance or cause them to be corrected. As speci
                                                                    fied herein, the Company's
   22 SEC filings complained of herein were signed by
                                                      the Indiv           idual Defendants and
   23 contained certifications by Defendants pursuant
                                                      to §302   of SOX. Accordingly, the
   24 Individual Defendants are responsible for the
                                                     accuracy ofthe public reports,
   25 releases, and other statements detailed herein and
                                                         are primarily liable for the
   26 misrepresentations and omissions contained there
                                                       in.
   27              26.      As senior officers and controlling persons of a publicly-h
                                                                                      eld
   28 company whose securities were, during the relev
                                                      ant          time, registered with the SEC

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     1       pursuant to the Exchange Act, traded on the NASDAQ stock market and governed
     2 by the provisions of the federal securities laws, the Individual Defendants each had
     3 a duty to promptly disseminate accurate and truthful information with respect to
     4 the Company's performance, operations, business, products, and prospects, and to
     5 correct any previously issued statements that were or had become materially
     6 misleading or untrue, so that the market price of the Company's publicly-traded
     7 securities would be based upon truthful and accurate information. The Individual
     8 Defendants' wrongdoing during the Class Period violated these specific                               !I
     9 requirements and obligations. Under rules and regulations promulgated by the
    10 SEC under the Exchange Act, including Item 303 of Regulation S-K, Defendants '~
    11 also had a duty to report, among other things, all trends and uncertainties that were
    12 reasonably likely to affect Amgen's net sales, revenues, or income. Defendants'                 I~
    13 wrongdoing during the Class Period, as alleged herein, also violated this specific
    14 requirement and obligation.                                                                '~
    15             27.     Each ofthe Individual Defendants is liable as a primary participant
    16 ~ in a wrongful scheme and course of business that operated as a fraud and deceit on
    17 ~ purchasers of Amgen securities during the Class Period, which included the
    18 ~ dissemination of materially false and misleading statements and concealment of
    19 material adverse facts. The scheme: (i) deceived the investing public regarding
   20 Amgen's performance, operations, business, products and prospects, and the true
   21        value of Amgen securities; and (ii) caused Plaintiff and other members ofthe Cla
   22 to purchase Amgen securities at artificially inflated prices, which fell as the truth
   23 concerning Aranesp and Epogen ultimately became known.
   24              28.     In making the statements complained of herein, Defendants, who
   25 were all senior officers and controlling persons of Amgen, were acting on behalf
   26 the Company in the regular course of business. Therefore, each ofthe statements
   27 made by the Individual Defendants is attributable to the Company.
   28

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      1                             JURISDICTION AND VENUE
     2           29.     The claims asserted herein arise under and pursuant to Sections
     3      10(b)and 20(a) of the Exchange Act[15 U.S.C. §§ 78j(b) and 78t(a)
                                                                                   ] and Rule
     4 lOb-5 promulgated thereunder by the SEC.
     5           30.     The Court has jurisdiction over the subject matter of this action
     6 I pursuant to 28 U.S.C. §§ 1331 and 1337 and Section 27 of the
                                                                           Exchange Act[15
     ~ I u.s.c. § ~g~~.
     gl       31.     Venue is prope    r in this District pursuant to Section 27 ofthe
     9 I~ Exchange Act, and 28 U.S.C. § 1391(b).
    10 I~        32.     In connection with the acts alleged in this Complaint, Defendants
                                                                                                ,
    1i ~ directly and indirectly, used the means and instrumentalities
                                                                         ofinterstate
    12 commerce, including, but not limited to, the mail, interstate telep
                                                                           hone
    13 communications, and the facilities of the national securities
                                                                     marke   ts.
    14                              FACTUAL ALLEGATIONS
    i5      A.   Background: Overview of ESAs and the ESA Market
    16           33.    Erythropoiesis is the process by which the body produces
    17 erythrocytes, or red blood cells. Red blood cells contain
                                                                 hemog  lobin, a protein th
    18 functions primarily in the transport of oxygen from the lungs
                                                                      to the tissues of the
    19 body. Hemoglobin levels are expressed in grams {g)per decili
                                                                       ter(dL)of whole
   20 blood. An adequate supply of red blood cells is necessary
                                                                  to oxygenate the body.
   21        34.     Anemia, a condition in which the blood is deficient in red blood
   22 cells or hemoglobin, impairs the body's ability to transfer
                                                                  oxygen to the tissues.
   23 Anemia has many potential causes, including an iron-poor
                                                                   diet, excessive
   24 certain cancers, certain cancer treatments, and kidney or liver
                                                                      failure.
   25        35.     A necessary step in the erythropoietic process is the production
                                                                                        of
   26 erythropoietin, a protein made in the kidneys that stimulates
                                                                    red blood      cell
   27 formation. In the early 1980s, Amgen scientists cloned
                                                             the gene for      erythropoietin,
   28 a discovery that led eventually to the Company's comme
                                                             rcial     ization of man-made
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     1 ' versions of erythropoietin — epoetin alfa, which Amgen markets in the U.S. as
     2 Epogen, and darbepoetin alfa, which Amgen markets in the U.S. as Aranesp.
     3 Hoffinann La-Roche manufactures another ESA,epoetin beta, which it markets in
     4 Europe as NeoRecormon. Because epoetin alfa and epoetin beta, like endogenous
     5 erythropoietin, stimulate red blood cell formation,they are refereed to as
     6 erythropoiesis-stimulating agents, or ESAs. Erythropoietin and its man-made
     7 copies are also sometimes referred to as EPO.
     8             36.      While epoetin a(fa was still in development, Amgen entered into a
     9 Product License Agreement("PLA") with a subsidiary of Johnson &Johnson
    10 ("J&J"). Amgen granted J&J an exclusive license under Amgen's patents to
    11       market and sell Amgen-manufactured epoetin alfa in the U.S. for anemia in
    12 humans resulting from all treatments except in the dialysis and diagnostics settings.
    13             37.     In 1989, the FDA approved Epogen for the treatment ofanemia
    14 associated with chronic renal failure("CRF"), including end stage renal disease
    15 patients and patients not on dialysis. The treatment for more severe cases of
    16 anemia in CRF patients had been whole blood or red cell transfusions. Epogen
   17 therapy was to elevate or maintain the red blood cell level and to reduce the need
   18 for transfusions in these patients.
   19              38.     Through its own research and testing, J&J obtained FDA approval
   20 market epoetin alfa to treat and reduce the need for transfusions in patients
   21        undergoing treatment for other diseases. Between 1991 and 1996, J&J secured
   22 FDA approvals to market epoetin alfa for persons who develop anemia as a
   23 consequence of chemotherapy for cancer, treatment ofHIV infection with the
   24 pharmaceutical zidovudine, chronic kidney diseases in pre-dialysis patients, and in
   25        anemic patients scheduled to undergo elective, non-cardiac, non-vascular surgery.
   26 J&J markets its Amgen-manufactured product under the name Procrit~("Procrit
                                                                                  ").
   27              39.     Except for the difference in their marketing names,the Epogen and
   28 Procrit products are identical, as are their FDA-approved labels listing indications,


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        1 1 warnings and other information. Pursuant to the PLA,
                                                                   however, Amgen is
        2 ,I precluded from expanding its Epogen franchise to take advan
                                                                        tage of the indications
        3 for epoetin alfa obtained by J&J.
      4           40.     Amgen's solution to that limitation was to develop a new
                                                                                      ESA,
      5 darbepoetin alfa. The molecular structure of darbepoeti
                                                                n alfa     is slightly different
     6 than that of epoetin alfa and lasts longer in the bloodstrea
                                                                  m. The clinically
     7 significant impact was that darbepoetin alfa needed to
                                                              be administered less often
     8 than epoetin alfa. The commercially significant impac
                                                              t was that Amgen could now
     9 market a product in the lucrative oncology market and
                                                             other
                                                                wise seek to expand its
    10 ESA franchise in ways the PLA precluded it from doing
                                                             with Epogen.
    11      41.     The PLA between Amgen and J&J, entered into when Amge
                                                                               n was
    12 still a struggling start-up hungry for capital, has allowed
                                                                   J&J to reap    billions of
    13 dollars from sales ofProcrit. As described in a Forb
                                                            es articl  e entitled "Amgen's
    14 Enemies" dated October 30,2006, Amgen "sidestepp
                                                        ed"         the PLA through its
    15 development of Aranesp so it could reclaim the market
                                                             it     had given to J&J.
    16           42.     In 2001, the FDA awarded Amgen approval to market
                                                                                  Aranesp for
    17 the treatment of anemia associated with chronic renal
                                                             failur   e, including patients on
    18 dialysis(end stage renal disease) and patients not on
                                                             dialys  is. In 2002, Amgen
    19 secured approval to market Aranesp for the treatment
                                                            of anem     ia associated with
    20 cancer chemotherapy. By early 2004, Aranesp had
                                                       a 45%        share of domestic non-
   21     dialysis ESA share to Procrit's 55%; Amgen has since
                                                                 overtaken J&J and now
   22 controls over half this market.
   23           43.     Amgen's ESA franchise has been core to its survival and
                                                                                    its success.
   24 Now a Fortune 200 company, Amgen is the largest
                                                      biotechnol           ogy company in the
   25 world, generating $14.3 billion in revenues in 2006
                                                          ,
                                                          approximately half of which
   26 come from sales of Epogen and Aranesp. Indeed,
                                                        the 11Tew York Times has
   27 described Epogen as the "best-selling drug ever
                                                      created by biotechnology."
   28

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                                                   ITIES LAWS                               13 ~
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     1         44.     Forbes further reported that to boost Aranesp sales even more,
     2 Amgen in 2004 began tying the level ofrebates physicians can qualify for on their
     3 purchases oftwo other Amgen drugs, Neupogen and Neulasta, to the amount of
     4 Aranesp they purchase.
     5         45.     Neupogen and Neulasta are to white blood cells what Epogen and
     6 Aranesp are to red —slightly different versions of a human protein manufactured
     7 by recombinant DNA technology that stimulates their production. Oncologists
     S   who purchase and administer ESAs generally also require Neupogen and/or
     9 Neulasta for their practices. As with its ESA franchise, Amgen has a patent estate
    10 protecting Neupogen and Neulasta. Unlike with ESAs, Amgen does not share the
    11   franchise with acompetitor/licensee; in the U.S., Amgen has a 98%share ofsales
    12 to oncology clinics for white blood cell-boosting drugs.
    13         46.     J&J has filed an action against Amgen in federal court in New
    14 Jersey alleging that Amgen's sales practices constitute an unlawful and
    15 anticompetitive tying arrangement and pricing scheme that violates U.S. antitrust
    16 law. See Ortho Biotech Products, L.P. v. Amgen Inc., C.A. No. 2:05-cv-04850-
    17 SRC-MF (D.N.J.).
    18         47.     Although Amgen sells its red cell and white cell-boosting products
    19 to medical providers such as dialysis and oncology clinics, it is largely dependent
   20 on the federal government for its revenue stream. Indeed, as reported by Forbes,
   21    Medicare spent $1.75 billion on Epogen in 2005, more than on any other drug. As
   22 explained by Amgen's 200b Form 10-K filed with the SEC:
   23                      In the United States, dialysis providers are
   24                  primarily reimbursed for EPOGEN~ by the federal
   25                  government through the End Stage Renal Disease
   26                 Program("ESRD Program")of Medicare. The ESRD
   27                 Program reimburses approved providers for 80% of
   28                 allowed dialysis costs; the remainder is paid by other

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     1                    sources, including patients, state Medicaid programs,
     2                    private insurance, and to a lesser extent, state kidney
     3                    patient programs. The ESRD Program reimbursement
     4                    rate is established by federal law and is monitored and
     5                    implemented by the Center for Medicare &Medicaid
     6                    Service("CMS"). Most patients receiving Aranesp~,
     7                    Neulasta~ and NEUPOGEN~ for approved indications
     8 j                  are covered by both government and private payer
     9 '.                 healthcare programs.
    10            48.     During the Class Period a change occurred in how medical services
    11      providers are reimbursed by Medicare for their coverage-eligible purchases. Prior
    12' to January 1,2005, Amgen and other drug companies were required under
    13      Medicare Part B to report average wholesale prices("AWP")for their drugs to the
    14 Centers for Medicare and Medicaid Services("CMS"). Purchasers of the drugs
    15 like doctors and other medical services providers were reimbursed by CMS based
    16 on these "posted prices" and not actual transaction prices. Purchases at prices less
    17 than the posted AWP created a "spread" resulting in a profit source for doctors.
   18             49.     Pursuant to the Medicare Prescription Drug, Improvement and
   19 Modernization Act of2003,companies now have to report actual net transaction
   20 prices (including rebates and other discounts)rather than AWP. The
   21       reimbursement formula is now calculated as "average sale price" or ASP, plus six
   22 percent.
   23 B.          Early Safety Sisnals with ESAs
   24             50.     The clinical testing conducted to obtain FDA approval for Epogen,
   25 Procrit and Aranesp established that subjects who were administered the study
   26 drug were less likely to require transfusions than subjects who were administered a
   27 placebo. The trials were not designed to assess, as a primary endpoint, the overall
   28 survival rates of participants or other clinically meaningful metrics.

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     1 1         51.     Several early studies observed an association between ESA therapy
     2 and cardiovascular events. T'he original FDA-approved labels for both Epogen and
     3 ' Aranesp warned that they may increase the risk of cardiovascular events, including
     4 death, that higher risk ofcardiovascular events may be associated with higher
     5 hemoglobin andlor higher rates of rise of hemoglobin, and that hemoglobin level
     6 should be managed to avoid exceeding a target level of 12 g/dL.
     7           52.     At the time Procrit was approved for treating anemia associated with
     8 cancer chemotherapy in 1993, the FDA also noted that epoetin alfa could
     9 potentially serve as a growth factor for malignant tumors. Amgen and J&J
    10 therefore agreed to conduct a study (N93-004)to rule out a decrease of 15 percent
    11     in the overall chemotherapy response rate with epoetin alfa when compared with
    12 patients receiving chemotherapy alone. Amgen and J&J terminated the study early
    13 due to slow accrual rates. The study did meet its objective, but there was also a
    14 higher incidence of vascular (extracardiac) adverse events in the group receiving
    15 epoetin alfa, and the median duration ofsurvival was 10.5 months among epoetin
    16 alfa-treated subjects compared with 20.4 months among placebo-treated subjects.
    17           53.     In the late 1990s and early 2000s there were several larger-scale
    18 clinical tests performed on ESAs,including the "Normal Hemocrit" Study,
    19 ENHANCE and BEST.
   20            54.     The Normal Hematocrit Study, published in 1998, was a randomized
   21      controlled study of CRF patients with established heart disease. The study
   22 compared anemic patients targeted to increase their hemoglobin to either low level
   23 or a normal level. The study was stopped by its data safety monitoring board
   24 because ofa higher rate of vascular thrombosis (the formation of blood clots within
   25 blood vessels) in patients randomized to the normal-level group. Patients in that
   26 group also had a higher, although not statistically significantly higher, rate of
   27 nonfatal heart attacks and death.
   28

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     1              55.    In 2003 and early 2004, data from two large-scale clinical trials
     2 testing ESAs on cancer patients in Europe, ENHANCE and BEST,raised concerns'
     3 over the safety of the entire ESA class. In the ENHANCE trial {also known as the
     4 "Henke" trial), patients with head and neck cancer dosed with Hoffmann-La
     5 Roche's epoetin beta product Neorecormon had substantially shorter progression-
     6 free survival and overall survival than the placebo group. The Breast Cancer
     7 Erythropoietin Survival Trial("BEST")(also known as INT-76 or the "Leyland-
     8 Jones" trial) was stopped after only four months because of increased mortality in
     9 breast cancer patients receiving an epoetin alfa product called Eprex manufactured
    10 by a J&J company for marketing outside the U.S.
    11             56.     ENHANCE involved 351 patients; BEST involved over 900. By
    12 contrast, the data set used by the FDA in 1993 to approve the use ofepoetin alfa
    13 for cancer patients with chemotherapy-induced anemia consisted of pooled data
    14 from six clinical trials, none of which was designed to measure clinical outcomes
    15 as a primary endpoint, and which had a combined study population of 131 patients.
    i6             57.     Both ENHANCE and BEST studied ESAs marketed in Europe but
    17 not approved by the FDA for use in the U.S., evaluated patient populations for
    i8       which ESAs had not been approved in the U.S., and dosed to high target
    19 hemoglobin levels. While theses distinctions prevented the studies from providing
   20 definitive evidence ofa safety problem involving Epogen or Aranesp, they did
   21        prompt substantial safety concerns on the part ofthe FDA,given the absence of
   22 any compelling countervailing evidence. In other words, according to the FDA
   23 there were no large, well-controlled clinical trials measuring survival, tumor
   24 growth or other clinically significant metrics using approved ESAs in approved
   25 populations and targeting approved hemoglobin levels to show that ESAs were at
   26 least as safe as a placebo. The earlier epoetin alfa and darbepoetin alfa clinical
   27 trials measuring study-drug and placebo transfusion percentages were not designed
   28


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     1       to measure clinically significant outcomes and did not provide data robust enough
     2 to address the negative safety signals raised by ENHANCE and BEST.
     3 I C.        Amgen Misled Investors Concerning the Safety Profile of Its ESAs
     4             1.    The 2004 ODAC Meeting
     5             58.     In light ofthe safety signals raised by the ENHANCE and BEST
    6 trials, in May of 2004 the FDA convened a meeting of leading experts in the field
     7 of oncology —the Oncology Drug Advisory Committee, or ODAC — to seek its
     8 counsel as to what should be done (the "2004 ODAC Meeting").
    9              59.     In the weeks leading to the 2004 ODAC Meeting, Amgen held a
    10 conference call with analysts on Apri122, 2004 to discuss its earnings for the first
    11       quarter of2004. Defendants Sharer, Nanula and Morrow participated for Amgen.
    12 Specifically concerning the ODAC Meeting, they were asked "Could you commen
    13 on a FDA meeting that I've heard about I believe several weeks from now where
    14 they're going to look into the safety of Aranesp and other erythropoietic products
    15 and what the scope ofthat meeting would be?" Defendant Morrow, Amgen's
    16 Executive Vice President of Global Commercial Operations, misleadingly
    17 downplayed the significance ofthe meeting and the safety concerns ofthe FDA:
    18                         Yes, this is the oncology. It's called the ODAC
    19                   meeting. It's going to be held on May 4. And it really
   20                    was called due to the two studies that were done on
   21                    Eprex and Neorecormon in Europe where there was an
   22                    issue about long-term survival in cancer populations.
   23                          So we had answered and recognized the risen issue
   24                    for Tobin, Alpha, and Beta. Just as a reminder, those
   25                    products were used off-label at higher hematocrit levels
   26                    than dictated by the label. And we also feel there was
   27                    some potential study design flaws.
   28


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     1                          And so we're anxious to learn more about.those
     2                    studies during this meeting as well.
     3                          Now we had decided to participate in that meeting
     4                    `cause thefocus was not on Aranesp and as Roger said
     5                    late last year, there is no signal associated with Aranesp.
    6                     We've had two perspective randomized placebo
     7                    controlled trials. And the safetyfor Aranesp has been
     8                   comparable to placebo.
    9                           We continue to investigate with well-designed
    10                   studies on Aranesp and we're working closely with the
    11                   FDA on this issue. Butjust as a reminder, it's two weeks
    12                   away so that's pretty much all we know today.
    13 (Emphasis added.)
    14             60.     Contrary to Defendant Morrow's explanation on the call with
    15 analysts,"the focus" ofthe 2004 ODAC Meeting was"on Aranesp." The fact that
    16 the ENHANCE and BEST trials had been conducted on a J&J-manufactured
    17 epoetin alfa product and Hoffinann-La Roche's epoetin beta product was
   18 irrelevant. This was aclass-wide issue implicating all ESAs,including Aranesp
   19 and Epogen, until the FDA had a credible, evidence-based reason to conclude
   20 something different.
   21              61.     At the 2004 ODAC Meeting the FDA communicated to Amgen that
   22 for the ESA safety issue to get resolved, Amgen and J&J should conduct clinical
   23 trials that met a number ofpre-specified criteria, which the FDA delineated. The
   24 discussion among ODAC members and between ODAC members and the FDA
   25 also made clear that another important parameter was to test ESAs at target
   26 ~ hemoglobin levels approved by the FDA.
   27              62.     Amgen made a presentation at the 2004 ODAC Meeting in which it
   28 outlined the "Amgen Pharmacovigilance Program" —five planned or ongoing trials
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        l i involving Aranesp in different tumor treatment settin
                                                                  gs. One ofthese, sponsored
        2 1 by the Danish Head and Neck Cancer Group("DAHANC
                                                                        A")was Study 5E-2002-
        3 ~ 9001 (the "DA~IANCA 10 Trial"), which was to test
                                                         Aranesp in subjects with head'
     4 and neck cancer. David Parkinson, M.D., Amgen's Vice
                                                            President, Oncology
     5 Clinical Development, described the Amgen Pharmacovigilan
                                                                 ce Program as "a
     6 responsible and credible approach to definitively resol
                                                               ving the         questions raised] in
     7 this morning's meeting."
     8              63.     The 2004 ODAC Meeting was atwo-day affair, with the ESA
                                                                                               issue
     9 taking up part ofthe second day. The ESA portion ofthe meeti
                                                                         ng was lightly
    10 covered by the press, which reported generally that there
                                                                  were inconclusive studies
    1 1 raising safety questions concerning overall survival, tumo
                                                                   r growth and blood
    12 clotting, that additional clinical trials were needed, and that
                                                                       spons     ors of ESAs,
    13 including Amgen, were conducting such trials. There was
                                                               no             significant
    14 movement in Amgen's share price following the 2004
                                                          ODA               C Meeting.
    15             2.     The DAHANCA 10 Trial
    16             64.     The DAHANCA 10 Trial tested whether high doses of Arane
                                                                                            sp
    17 ~ ~ could aid in shrinking the tumors of certain cancer patien
                                                               ts receiving radiation
   18 therapy. On October 18, 2006,the DAHANCA inves
                                                           tigators temporarily halted
   19 the study "due to information about potential unexpected
                                                                negative effects related
   20 immunohistochemical estimation of the so-called EPO
                                                             receptor." Pursuant to the
   21 DAHANCA 10 Protocol,"AMGEN will, like the depar
                                                             tments involved, be kept
   22 informed about the study on an ongoing basis, including
                                                              the extent to which
   23        unexpected adverse events occur." Thus on information and
                                                                             belief, Amgen was
   24 informed of this development on or near October 18,
                                                          2006.
   25              65.     On December 1, 2006, the DAHANCA investigators decid
                                                                               ed to
   26 terminate the study entirely. As later described by the
                                                              FDA,"This study was
   27 terminated as recommended by the data. monitoring
                                                           committee, based on both
   28 adverse effects on locoregional control rates and for
                                                            a trend         towards impaired

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     1   survival in an interim analysis." According to the DAHANCA 10 Interim
     2 ' Analysis,"there is a small but significant poor outcome in the patients treated with
     3 1 Aranesp" in that tumor growth was worse for those patients who took Aranesp than
     4 it was for those who did not. Amgen was informed in December 2006 that the
     5 study had been terminated. It chose not to inform the market.
     6         66.     On February 16, 2007,a Washington based newsletter, The Cancer
     7 Letter, reported that the DAHANCA 10 Trial had been halted back in October
     8 2006 because it showed "significantly inferior therapeutic outcome from adding
     9 Aranesp to radiation treatment of patients with head and neck cancer." Under the
    10 banner"Amgen Didn't Tell Wall Street About Results Of Danish Study," the
    11   article continues: "Several Wall Street sources who monitor Amgen confirmed tha~
    12 they have been awaiting these results and were not aware ofthem until hearing
    13 about the closing ofthe trial from this reporter."
    14         67.     DAHANCA 10 was one ofthe five trials in the Amgen
    15 Pharmacovigilance Program —the so-called "responsible and credible approach to
    16 definitively resolving" the questions raised at the 2004 ODAC Meeting. In other
    17 words, this is a study that Amgen itself held out as being material to resolving the
   18 FDA's concerns over safety signals with ESAs. Indeed, the study's Principal
    19 Investigator, Dr. Jens Overgaard, appeared and spoke at the 2004 ODAC Meeting
   20 as a guest of Amgen.
   21          68.     The same day The Cancer Letter was published, Amgen's stock
   22 dropped $1.55 per share, or 2.3%,to $66.73. After the market closed on February
   23 28,2007, Amgen announced that it had received an inquiry from the SEC's Atlanta
   24 District Office asking the Company to provide information and documents
   25 regarding the DAHANCA 10 Trial. The following day, on March 1, 2007, shares
   26 of Amgen reacted negatively to the news, falling from $64.26 per share to $61.70
   27 per share.
   28

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     1             3.     The 103 Study and Amgen's Broader Fraud Concerning the
     2                    Safety of Its ESAs
     3             69.      On January 25, 2007, i.e., after Amgen knew the results of the
     4 DAHANCA 10 Trial but before The Cancer Letter exposed those results, Amgen
     5       held a conference call to discuss its fourth quarter 2006 earnings. On that call the
     G1 Company also announced the results of a clinical trial testing Aranesp in 939
     7 parients with anemia of cancer. Internally Amgen referred to this trial as Study
     8 ' 20010103 or the 103 Study.
     9'            70.     The key result ofthe 103 Study, as later described by the FDA, was
    10 that it "demonstrated significantly shorter survival in cancer patients receiving
    11       ESAs as compared those receiving transfusion support." On the January 25
    12 earnings call, however, Amgen described the results as "neutral and perhaps
    13       negative." (Emphasis added.) Defendant Perlmutter, Amgen's Executive Vice
    14 President of Research and Development, described the results ofthe 103 Study as
    15 follows:
    16                          Let me now turn to Aranesp. In Aranesp, we
    17                   received in the fourth quarter data from our Phase III
    18                   study in the anemia of cancer setting. Now,this is an
    19                   attempt to expand the label for Aranesp to include
   20                    patients with anemia that is not secondary to
   21                    chemotherapy but, in fact, is attributed to the cancer
   22                    itself. The Phase III study evaluated anemic patients who
   23                    had active malignancy who are not receiving
   24                    chemotherapy or radiotherapy and in whom it was not
   25                    planned to provide chemotherapy or radiotherapy in the
   26                    near future.
   27                           These individuals understandably are gravely ill,
   28                    and in this patient population, one can expect that there


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        1                  would be a high frequency of adverse events. The study
      2                    was designed to show, as we had previously shown in
      3,                  Phase II studies, that Aranesp could reduce the frequency
     4'                   oftransfusions and improve quality of life. With respect
     5                    to the transfusion-end point, the study did not meet its
     6                    primary end point.
     7                           We did not show a statistically significant
     8                    reduction in transfusions in this patient population at the
     9                    16-week end point. Moreover, we did see a statistically
    10                    significant adverse effect of Aranesp on overall mortality
    11                    in this patient population, and so we conclude that the
    12                    risk benefit ratioforAranesp in these extremely ill
    13                    patients with anemia secondary to malignancy is, at
    14                    best, neutral and perhaps negative.
    15 (Emphasis added.)
    16             71.     No one within Amgen reasonably could have believed the spin
    17 Amgen put on the 103 Study results. It was afailure — Arane
                                                                   sp          patients did not
    18 have fewer transfusions but they were more likely to die. By positi
                                                                                     oning the study
    19 ~ as "neutral, and perhaps negative" and focusing on the "gravely
                                                                    ill" patient
   20 population, Amgen was not simply misleading the market as to
                                                                   that one event.
   21       Rather, it was continuing with a systematic pattern of misreprese
                                                                               nting to the
   22 market that the safety of Aranesp and Epogen, when used
                                                              as direct          ed, was beyond
   23 question.
   24              72.     Amgen's misrepresentations concerning the safety ofEpogen and
   25 Aranesp begin before the Class Period and continued throu
                                                                gh the entire Class
   26 Period. On quarterly earnings calls held on July 24,2002 and
                                                                   Octob             er 23,2002,
   27 Defendant Morrow falsely referred to various study results as
                                                                    "cont        inu[ing} to
   28 validate the strong safety profile of Aranesp."

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     1                73.     On an earnings call held on January 22, 2004, Defendant Perlmutter
     2 further stated:
     3                             we at Amgen have examined all of the data on
     4                      darbepoetin alfa, that is Aranesp, therapy, in great deal
     5                      [sic]. We find no evidence for adverse effects of Aranesp
     6                      treatment on the survival of the cancer patient. In
     7                      particular, two prospective, randomized double-blind
     8                      placebo-controlled files in anemic patients receiving
     9                      chemotherapy for either lympo proliferative malignancy
    10                      or lung cancer have been performed.
    11 !i                          In these studies, the safety profiles of Aranesp and
    12                      placebo were similar.
    13                74.     Amgen's misrepresentations regarding ESA safety continued during
    14 the Class Period. On November 20, 2006, the Company posted a statement titled
    15 "Amgen Responds to CHOIR and CREATE Clinical Trial Data" on the "Featured
    16 Content" page of its website. CHOIR and CREATE were clinical trials of ESAs
    17 on chronic kidney disease patients; the results of both studies were published in the
    18 November 16, 2006 issue of the New England Journal ofMedicine. The CHOIR
    19 data safety monitoring board terminated the study early due to findings of an
   20 increased risk of death and cardiovascular hospitalization in patients assigned to
   21           achieve a target hemoglobin of 13.5 g/dL with epoetin alfa. The study's primary
   22 hypothesis was that anemia correction to 13.5 g/dL in patients with chronic kidney
   23 disease would decrease mortality and cardiovascular morbidity, but the study
   24 showed the opposite. In CREATE,patients with chronic kidney disease and mild
   25 to moderate anemia were randomized to treatment with epoetin beta to either a
   26 high or a low target hemoglobin. On November 16, 2006, Roche Pharmaceuticals
   27 announced that the CREATE results "clearly show that there is no additional
   28


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     1 ~ cardiovascular benefit from treating to higher hemoglobin levels in this patient
    2 ~ group.'
              ,
     3         75.     Attempting to reaffirm the safety of Aranesp and Epogen for their
    4 on-label uses, Amgen's November 20, 2006 website posting stated in relevant part
     5                      A very substantial body of evidence, developed
    6                over the past 17 years, demonstrates that anemia
    7                associated with chronic kidney disease can be treated
    8                safely and effectively with EPOGEN~ and Aranesp~,
    9                when administered according to the Food and Drug
    10               Administration(FDA)-approved dosing guidelines. In
    11               particular, the FDA-approved labels for both drugs define
    12               regimens aimed at achieving a hemoglobin target not to
    13               exceed 12 g/dL.
    14                     In the CREATE and CHOIR studies, physicians
    15               treated patients differently than they would in standard
    16               clinical practice, and in particular sought to achieve
   17                hemoglobin targets substantially higher(> 13 g/dL)than
   18                those recommended by the FDA. In the CHOIR study,
   19                patients assigned therapy designed to achieve a target
   20                hemoglobin level of 13.5 g/dL appeared to suffer more
   21                life-threatening events than those treated conventionally.
   22          76.     Despite Amgen's assertions, there was not a substantial body of
   23 evidence demonstrating that Aranesp or Epogen had adequately been tested against
   24 placebo at approved doses to determine overall survival rates or other clinically
   25 significant endpoints. Indeed, the key point of the 2004 ODAC Meeting was that
   26 there was a lack of evidence. As Dr. Patricia Keegan, Director ofthe FDA's
   27 Center for Drug Evaluation and Research, Division of Biologic Oncology Products
   28

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     1 ~ ~ stated at the 2004 ODAC Meeting, studies were necessary to determine "whether
     2 or not[ESAs]are safe."
     3         77.     By January 2007, several additional clinical trials with safety
    4 signals —CHOIR,DAHANCA 10 and the 103 Study —had confirmed the concern
     5 raised earlier by ENHANCE and BEST,and no clinical trial results had establishes
    6 ~ the safety and efficacy of the on-label use ofESAs when measuring clinically
    7 significant metrics such as overall survival. Yet on the same earnings call during
    8 which the 103 Study results were discussed, held January 25,2007, Defendant
    9 Morrow gave overall positive guidance for future ESA sales:
    10                      In 2007, we will once again focus on anemic
    11               chronic kidney disease and chemotherapy induced
    12               patients not currently being treated. This pool of several
   13                100,000 patients has and will continue to be the primary
   14                driver of Aranesp growth. We're also pleased with the
   15                level ofdifferentiation achieved versus the first
   16                generation EPOs. This will serve us well as we defend
   17                against [Indiscernible] in Europe later this year. Roger
   18                did discuss the anemia of cancer, clinical findings and
   19                it's far too early for us to asses any potential impact on
   20                the marketplace.
   21                      Turning to EPOGEN,it's certainly going to be an
   22                exciting year for this product. If Roche decided to launch
   23                peg-EPO, we're certainly ready for them. The bigger
   24                question is, are potential questions ready for peg-EPO,
   25                and I think that's adequately addressed in the first bullet.
   26                Regarding the NKF review of anemia guidelines, the fact
   27                that 1.5 million patients have been treated with
   28                EPOGEN, we have awell-established risk benefit profile,

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        1                 and our promotion has always been strictly according to
        2                 our label, we do not anticipate a major shift in clinical
     3                    practice. However, given all the recent public debate, a
     4                   small decline in sales cannot be ruled out in 2007.
     5             78.     These projections of continued growth were un#enable given all
                                                                                               that
     6 1 Amgen knew about the evolving safety profile of ESAs(including           the then-
     7 ' undisclosed results ofDAHANCA 10).
     8 ~           79.     Also untenable was Defendant Sharer's statement, on the Febru
                                                                                              ary I
     9 ' 16, 2007 call with analysts concerning The Cancer Letter and
                                                                      DAHANCA 10, that i~
    10'"We strongly believe, as we have consistently stated, that
                                                                  Aranesp and Epogen are
    1 1 safe and effective medicines when used in accordance with
                                                                   label indications."
    12             80.     In addition to the substantial safety concerns of which Defen
                                                                                            dants
    13 were then aware,they had every reason to believe that Amge
                                                                            n's Aranesp and
    14 Epogen franchises were in serious jeopardy for a secon
                                                              d reaso  n —the risk of
    15 adverse regulatory action by the FDA. As noted above, at
                                                                  its 2004 meeting,
    16 ODAC has specifically requested certain clinical studies be
                                                                   conducted to resolve
    17 the outstanding safety issues regarding its ESAs; Amge
                                                               n,however, knew that it
   18 had not conducted or even attempted to conduct the reque
                                                                 sted trials, resulting in a
   19 substantial risk that ODAC would recommend, and the
                                                               FDA would adopt,
   20 ~ restrictions on the sale and use of Epogen and Aranesp
                                                               when it next met to
   21 evaluate the drugs.
   22 D.          Amgen Has Engaged In Extensive Off-Label Marketing
   23             81.     At the same time the FDA was questioning whether ESAs
                                                                                       were safe
   24 for approved indications and populations, Amgen was
                                                          pushing             Aranesp for
   25       unapproved indications and populations. Amgen's unparallel
                                                                            ed success in
   26 marketing ESAs is due in part to its practice of promoting
                                                                        unapproved uses and
   27 increased per-patient dosages through improper and,
                                                          in some           cases, unlawful
   28 i means.

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        1           82.     Although physicians may prescribe drugs for off-label uses,
                                                                                             the law
        2 prohibits drug manufacturers from marketing or promoting
                                                                   their         drugs for
        3 unapproved uses. A manufacturer illegally "misbrands" a
                                                                  drug  if the drug's
     4 labeling(which includes all marketing and promotional
                                                                materials relating to the
     5 drug) describes intended uses for the drug that have not been
                                                                     approved by the
     6 i FDA. 21 U.S.C. §§331, 352.
     7~            83.     Acknowledging the "extensive regulation" of drug marketing
                                                                                              by the
     g i FDA and other regulatory authorities, Amgen repea
                                                                 tedly affirmed in its Class
     9 1~, Period filings with the SEC that "[we] manufacture and contr
                                                                             act manufacture,
    10 ' price, sell, distribute, and market or co-market our produ
                                                                     ctsfor their approved
    11       indications." (Emphasis added.)
    12             84.     Notwithstanding the prohibitions against off-label marketing,
    13 ' Amgen developed a sophisticated and multifaceted scheme
                                                                            to circumvent the rules
    14 ~ and grow sales.
    15            85.      A key element in the scheme was the day-to-day interaction
                                                                                             betw~
    16 the Amgen sales force and the doctors with whom they
                                                            met.             The FDA does not
    17 regulate the practice of medicine and federal regulation
                                                                s do
                                                                  not prohibit physicians
    18 from prescribing drugs for unapproved, off-label uses.
                                                              Drug companies are
    19 permitted to provide information regarding such uses in respo
                                                                     nse to doctors'
   20 inquiries. Amgen sales representatives were expected and
                                                               encou            raged to respond
   21       to doctor inquiries with detailed information about the vario
                                                                         us unlabeled uses to
   22 which Aranesp could be put. Indeed, Amgen sales repre
                                                                 sentatives were trained to
   23 prompt doctors to ask questions that would permit
                                                          them to begin the off-label
   24 dialog. Amgen gave its sales representatives training
                                                              on the different types of
   25 questions to ask("Problem Questions," "Situation Quest
                                                                 ions" or "Implication
   26 Questions") to best steer doctors into discussions of the
                                                                potential off=label uses of
   27 ~ Aranesp.
   28

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     1          86.     Effective "best practices" for off-label sales techniques were shared
     2 ~ throughout the Country. CW#1,a former Amgen district sales manager based
                                                                                         in
     3 ' Florida, was provided with a sales aid by his regional manager that was first
     4 written for Amgen sales personnel in Arizona(referred to in the document
                                                                                 as the
     5 "Phoenix Storm"). It provides an "expanded list" of"excellent questio
                                                                             ns" for
     6 Amgen sales personnel to pose to Amgen customers, e.g.:"What is keepin
                                                                              g you
     7 from using Aranesp in all your MDS/HIV/CIA patients?";"What can I do to help
     8 you to remember to use Aranesp in your MDS/HIV/CIA patients?";"Why have
     9 you not tried Aranesp in your MDS/HIV/CIA patients?"; and "How can we
                                                                             break
    10 you ofthis habit you have developed? Can we come up with a list of
    11   MDS/HIV/CIA pts that you can target to try Aranesp?" (MDS stands for
    12 myelodysplastic syndrome, an illness frequently tied to leukemia and often
    13 resulting in anemia. No ESA has been approved by the FDA for the treatme
                                                                                nt of
    14 MDS,and Aranesp has not been approved for HIV-infected patients.)
    15         87.     According to CW#2,a former Amgen sales representative and
    16 interim district manager in Houston, Amgen ostensibly repudiated the off-label
    17 promotion ofAxanesp and Epogen but provided its sales staff with detailed
    18 information about off-label uses in the form of"color-coded spreadsheets, Power
   19 Point presentations and unpublished study results," to insure that they "were
   20 prepared to discuss any off-label topic." CW#2 stated that Amgen was seeking
   21 "hard, fast and heavy to promote off-label uses for Aranesp."
   22          88.     Sales representatives were also required to carry "Proof Source
   23 Binders" on all sales calls to promote Aranesp andlor Epogen. As described
   24 above, the poor results ofthe 103 Study (conducted on patients with anemia
                                                                                 of
   25 cancer) and DAHANCA 10(conducted on patients with head and neck cancer)
   26 were publicized in January and February 2007, respectively. CW#3, former
                                                                       a
   27 Amgen Heath Systems manager based in Ohio, attended atwo-day "corpor
                                                                           ate,
   28 national" meeting soon thereafter, on or around March 13 and 14, 2007,
                                                                             in
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     1     Orlando, Florida. At that meeting, attendees, including sales representatives in
     2 Amgen's Oncology Business and Corporate Accounts units, were given explicit
     3 instructions to return, on-the-spot, their Proof Source Binders so that they could
                                                                                              be ~,
     4 destroyed. In addition to the binders, the Company collected from employees all
     5 documents concerning anemia of cancer, an off-label use, so that they too could
                                                                                       be
     6 destroyed. The Company kept written records tracking, for each employee,
                                                                                what
     7 documents they brought to the meeting and turned over to the Company.
     8           89.     Another component of Amgen's scheme to evade off-label
     9 marketing restrictions and thus boost its sales was its "speakers program."
    10 Speakers program events were not accredited continuing medical education
    11    seminars held under the auspices ofan independent medical association. They
    12 ' were dinners, paid for by Amgen, at which an "expert" speaker, paid by Amgen,
    13 would talk about off-label uses of Aranesp to physicians and other medical
    14 'services providers in attendance, who were also paid by Amgen. An Amgen
    15 ~ document describes "Clinical Round Table" dinners held for clinicians and
    16 administrators who were to receive a $1,000 honorarium "paidfrom marketi
                                                                                ng
    17 budgeP' upon the Company's receipt ofthe attendee's program evaluation
    18 I(emphasis added).
   19           90.     CW#1 also described in detail how Amgen retained a doctor named
   20 Jeffrey Patton to make presentations to doctors throughout the Southeast sales
   21     region (Tennessee, Kentucky, Georgia, Missouri, Michigan, Alabama, Louisiana,
   22 and Florida) regarding the off-label use of Aranesp to treat MDS. As a result
                                                                                    of
   23 Dr. Patton's presentations and other marketing efforts by Amgen,as much
                                                                              as 20%
   24 of all Aranesp sales within the district managed by CW#1 came from off
                                                                            -label
   25 administration for the treatment of MDS. According to a slide in one of Dr.
   26 Patton's presentations, the Aranesp market in Tennessee alone had off-label
                                                                                      sales
   27 of almost 40%:
   28

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     1                 Chemotherapy Induced Anemia                  50%
     2                 Anemia of Chronic Renal Insufficiency          11
     3                 Anemia ofChronic Disease                     17%
     4                 Anemia Secondary to MDS                      22%
     5 (Emphasis added to off-label uses.)
     6          91.      CW#4,a former oncology sales representative at Amgen in New
     7 Jersey, confirmed the use ofspeakers to advance off-label uses. CW#4 explained
     8 that Amgen would sponsor "speaker programs" for doctors, clinic managers, and
     9 pharmaceutical directors and that at these programs, Amgen would arrange for one
    10 speaker to discuss the "on-label" use of Aranesp, while a second speaker would
    11    discuss "off-label" uses.
   12           92.     Amgen sales representatives also solicited business by marketing a
   13 Medicare "spread." This was straightforward, and more lucrative to doctors before
   14 the law changed from AWP pricing to ASP pricing in 2005. Getting reimbursed in
   15 amounts that exceed the drug's purchase price resulted in profit for the doctor.
   16 Amgen representatives also marketed a different kind of"spread," namely the
   17 financial benefits associated with dosing patients to higher target hemoglobin
   18 levels or dosing patients in ways that reached the same target hemoglobin levels
   19 but that required more Epogen or Aranesp to do it. Simply put, doctors could
   20 make more(through reimbursements) or save more (through greater discounts or
   21     rebates) by using more of Amgen's ESAs in their patients.
   22           93.     One example ofsales representatives' efforts to drive increased drug
   23 dosages was reported by the Boston Globe last year, in an article dated October 24,
   24 2006, titled "Some See Profiteering in Clinics' Use of Drug." The article detailed
   25 Amgen's efforts to encourage doctors to administer Epogen intravenously, rather
   26 than subcutaneously. The article explained that subcutaneous injection requires
                                                                                      a
   27 substantially smaller dose to achieve the same therapeutic effect. The article
   28 quoted one physician as stating that"Amgen sales representatives have told
                                                                                 him
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     l ~ could boost his earnings by following the lead" ofclinic operators who administer
     2 Epogen intravenously, thereby increasing his use ofthe drug.
     3         94.      CW#5 shared one of Amgen's largest accounts and specifically
     4 stated that Amgen promoted off-label use by encouraging doctors to prescribe
     5   higher doses of Epogen and Aranesp than had been approved by the FDA.
     6         95.      CW#2 also reported that Amgen had acompany-wide practice of
     7 encouraging dosages higher than those approved by the FDA. CW#2 explained
     8 ~ that Amgen sales representatives gave doctors dosing recommendations, and that
     9 ~ Amgen's management created incentives to increase dosages —referred to as "dose ~
    10 driving" — by reviewing sales representatives' performance based on the size ofthe
    11   dosages prescribed by the doctors with whom they worked. CW#2 stated that in
    12 response to Amgen's monitoring ofdose sizes, sales representatives would
    13 sometimes accelerate dosing late in a fiscal quarter to meet their sales quotas.
    14         96.      Other former sales representatives reported that Amgen also
    15 promoted increased use of Epogen and Aranesp by encouraging doctors to give
    16 patients high dosages ofthe drugs. CW#5,a former district sales manager in
    17 Western Pennsylvania, recalled that Amgen's management applied immense
    18 pressure down the chain ofcommand to district managers, such as himself, and
    19 sales representatives to meet ever increasing sales quotas, essentially forcing the
   20 sales force to encourage the inappropriate administration ofEpogen or Aranesp in
   21    order to meet their sales goals.
   22          97.      Amgen greatly enhanced the effectiveness ofits efforts to drive
   23 dosing higher by providing extremely large financial incentives for prescribing
   24 physicians to increase their usage of the drugs. Unlike prescription drugs
   25 purchased by patients through other chains of distribution such as community
   26 pharmacies and mail order, Epogen and Aranesp are purchased by the physicians,
   27 clinics, hospitals or other facilities that administer them. Accordingly,
   28

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        1 ~ pharmaceutical companies such as Amgen offer may offer discou
                                                                                  nts and rebates
        2 ~ their purchases.
        3          98.     The New York Times reported on May 9,2007 that the total ESA
     4 drug payments by Amgen to one group of six oncologists was
                                                                  in the             millions of
     5       dollars. Six oncologists were reportedly paid $2.7 million by Amge
                                                                                    n for
     6 prescribing $9 million of Amgen's drugs in 2006. In another
                                                                   report           ed occurrence,
     7 one large kidney dialysis chain made 25 percent of its revenue
                                                                      from          the ESA drugs
     8 a.nd an even bigger share of its profits.
     9             99.     As discussed briefly above, Amgen's incentive payment program
    10 ties rebates on Neupogen or Neulasta(white blood cell-boostin
                                                                     g drugs           used in
    11       oncology practices) to purchases of Aranesp. This tying arrangemen
                                                                                    t prompted
    12 strong opposition from some doctors, who felt that Amgen was
                                                                    attemp            ting to
    13 interfere with their medical judgment. In an open letter to the
                                                                       Chair        man and
    14 Members ofthe Committee on Ways and Means,for a December
                                                                                  6,2006 Hearing
   15 on Patient Safety and Quality issues in End Stage Renal Disease
                                                                      Treat           ment, Noshi
   16 ~ Ishak, owner and medical director ofa New Hampshire kidne center
                                                                       y        wrote:
   17               This is a total disgrace to the practice of medicine. It is
   18                    shameful to allow rebates for achieving larger volume for
   19                    the use ofa drug. It is shameful that the physician is
   20                    forced to increase the dose of EPO for a patient who has
   21                    hemoglobin of 10.8 or 10.9 so the center can meet the
   22                    rebate threshold yet he knows that it will not do the
   23                    patient any good.
   24             100.    According to several confidential witnesses, Amgen marketed
   25 Epogen and Aranesp by explicitly discussing the financial
                                                                benefi
                                                                     ts of prescribing
   26 high volumes of these products with physicians and other medical
                                                                       services
   27 ~ providers, in violation of Medicare regulations.
   28

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        1              101.    CW#2 and CW#4 separately explained that Amgen's national office
     2 provided spreadsheets and other tools to enable sales representatives to discuss
                                                                                        the             ~
     3 economics of Amgen drugs with doctors, clinic business managers, and their
     4 accountants. CW#5 also confirmed that Amgen provided sales representative
                                                                                 s
     5           with detailed documentation that allowed them to calculate the "margin and
     6 spread," i.e., the profit that a medical practice could earn using particular Amgen
     7 drugs in combination. CW#6 noted that while Amgen always included the caveat
     8 in its materials that representatives were not supposed to communicate these
     9 numbers to doctors, Amgen devoted extensive time to training its representative
                                                                                                  s
    10 on how to use the spreadsheets and perform the necessary calculations, with the
    11          clear expectation that sales representatives would make use ofthese materials
    12 when speaking with doctors, administrators and other personnel.
    13                 102.   Amgen's activities continued unabated until near the end ofthe
    14 Class Period, when its practices began to draw scrutiny from the press and, as
    15          noted above, from the government. In addition to the Boston Globe article, Forbes
    16 ~ reported on Amgen's marketing practices and highlighted the financial incenti
                                                                                                ves
    17 that Amgen granted prescribing physicians. The article further reported that as
                                                                                       a
    18 result ofthese financial incentives,"dosing levels have crept up by a factor
                                                                                    of          four
    19 over the past decade, though some doubt that this makes dialysis patient live
                                                                               s
   20 longer. The higher doses have the side effect offattening the bank accounts of
   21           both Amgen and the clinics that choose the prescriptions."
   22                 103.    On December 4,2006, Amgen issued a press release "intended to
   23 J clarify Amgen's position on the use of Epogen and Aranesp and to correct
                                                                                         what
   24 company believes are misleading and inaccurate news reports regarding the
                                                                                use              of
   25           its drugs." In the press release, Amgen claimed that"Amgen only promot
                                                                                        es the
   26 use ofEpogen and Aranesp consistent with the FDA label."
   27                  Standing alone, Amgen's plan to increase ESA sales by marketing off-
   28            label uses and "dose driving" financial incentives confirms that Amgen's public


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     1     statements about its performance, operations, business, products and prospects
    2      were materially false and misleading. Amgen affirmatively created an
    3      impression that it was conforming to legitimate and sustainable business
    4      activities, a state of affairs that differed in a material way from that which
    5      actually existed.
    6 E.        The Truth Continues To Emerge
    7           104.     On February 23, 2007, the Associated Press published an article
    8 entitled "Amgen's Aranesp Taken OffKey Drug List for Use Against Anemia of
    9 Cancer" and announced:
   10                          Amgen Inc.'s Aranesp anemia drug has been
   11                  removed from an influential drug-reference list for a
   12                  certain use, which could jeopardize a portion ofthe
   13                  blockbuster drug's sales. The USP DI, adrug-reference
   14                  guide published by Thomson Corp., delisted Aranesp as a
   15                  treatment for anemia in cancer patients who are not
   16                  undergoing chemotherapy, Amgen spokesman David
   17                  Polk said Thursday. Public and private insurers use USP
   18                  DI and other guides to help determine whether to cover
   19                  various drug uses. The delisting of Aranesp as a
   20                  treatment for anemia of cancer could prompt insurers to
   21                  drop or reduce coverage for that use.
   22          105.     On February 27,2007,the New York Times published an article
   23 entitled "Studies Show Anemia Drugs May Harm Cancer Patients." The article, in
   24 relevant part, revealed:
   25                          New studies are raising questions about whether
   26                  drugs that have been used by millions of cancer patients
   27                  might actually be harming them.
   28

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     1                          The drugs, sold by Amgen,Roche and Johnson &
    2                     Johnson, are used to treat anemia caused by
    3                     chemotherapy and meant to reduce the need for blood
    4                     transfusions and give patients more energy. But the new
    5                     results suggest that the drugs may make the cancer itself
    6                     worse.

    ~ ~I                        In the studies, the drugs have generally been used
    8                     in ways not approved on the labels. And the companies
    9                     say that, when used according to instructions, the drugs
   10                     have a long history ofsafety.
   11
   12                           Nevertheless, some cancer specialists and
   13                     securities analysts say the new information may make
   14                     doctors more cautious in using the drugs, which have
   15                     combined sales for the three companies exceeding $11
   16                     billion and have been heavily promoted through efforts
   17                     that include television commercials.
   18              106.    On March 6, 2007,the Associated Press reported that: "In the latest
   19 blow to Amgen Inc., at least one company that administers Medicare plans has
   20 decided to stop paying for the use ofthe drug Aranesp to treat a certain type of
   21        anemia, citing safety concerns."
   22              107.    In an article dated March 7, 2007, the Rocky Mountain News
   23 reported that Noridian Administrative Services LLC,one of 17 companies that
   24 administers Medicare plans, dropped coverage of Aranesp for anemia of cancer.
   25                           Amgen's Aranesp drug, which is manufactured in
   26                      Longmont, won't be covered to treat a certain type of
   27                      anemia by at (east one company that administers
  28                       Medicare plans.


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         1                        Noridian Administrative Services LLC, which
        2                     administers Medicare plans in Colorado and some
        3                     dozen other Western states, will no longer pay for
     4                        Aranesp's use in anemia of cancer, medical director
     5                        William Mangold said. The Food and Drug
     6                       Administration hasn't approved Aranesp's use in
     7                       anemia of cancer, but insurers have typically covered
     8                       this so called off-label use if prescribing doctors deem
     9                       it appropriate.
    10              108.     ~n March 9, 2007, the FDA announced that it would include
                                                                                             a black
    11        box warning for all ESAs,including Aranesp and Epogen. The
                                                                                 boxed warning
    12 also recommends the drugs be used at the lowest dose possible
                                                                     to            boost red blood
    13 cell levels to the lowest level necessary to avoid blood transf
                                                                       usions      .. The press
    14 release entitled "FDA Strengthens Safety Information for Erythr
                                                                                 opoiesis-
    15       Stimulating Agents(ESAs)" stated, in relevant part:
    16                           The U.S. Food and Drug Administration(FDA)
    17                     today issued a public health advisory outlining new
    18                     safety information, including revised product labeling
    19                     about erythropoiesis-stimulating agents(ESAs), widely-
    20                     used drugs for the treatment of anemia. The drugs
    21                     affected by the safety update are darbepoetin alfa
   22                   (Aranesp) and epoetin alfa(Epogen and Procrit). (ESAs
   23                      are genetically engineered forms ofthe naturally
   24                      occurring human protein, erythropoietin. Natural
   25                      erythropoietin is made by the kidney and increases the
   26                      number of red blood cells).
   27
   28

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     1                              Recently completed studies describe an increased
    2                      risk of death, blood clots, strokes, and heart attacks in
    3                      patients with chronic kidney failure when ESAs were
    4                      given at higher than recommended doses. In other
    5                      studies, more rapid tumor growth occurred in patients
    6                      with head and neck cancer who received these higher
    7                      doses.
    8                            In studies where ESAs were given at
    9                      recommended doses, an increased risk of death was
   10                      reported in patients with cancer who were not receiving
   11                      chemotherapy and an increased risk of blood clots was
   12                      observed in patients following orthopedic surgery.
   i3              109.     Immediately following this disclosure, the Company's share price
   14 declined $1.31 per share, or 2.1%,to $60.86.
   15              1 10.    In an article dated March 10, 2007, the New York Times reported
   16 that on March 9, 2007, following the FDA's public health advisory, the American
   17 Society of Clinical Oncology sent a note to its members saying that it had learned
   18 that Medicare was cutting off reimbursement for all forms of erythropoietin. It
   19 was reported in the same article that FDA officials had said in issuing their public
   20 health advisory "that the manufacturers had never demonstrated that use of Epo
   21        actually improved energy levels or quality of life for patients undergoing
   22 chemotherapy." Finally, the New York Times reported that Amgen has estimated
   23 that more than $500 million of the Aranesp's annual sales are for the treatment of
   24 anemia caused by cancer itself, an off-label use.
   25              1 11.    In an article dated March 19, 2007, the Boston Globe reported that
   26 the FDA's public health advisory had prompted some members ofCongress and
   27 some doctors to urge Medicare to reconsider its reimbursement policy. The same
   28 article described the recent FDA findings as follows:


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        i                         The FDA said doctors should use only the minimum amount of
        2                    antianemia drugs needed to help patients avoid blood transfusions
                                                                                                   . It
        3                    also said oncologists should not use the drugs in an attempt
                                                                                            to
     4                       improve quality of life for cancer patients. It allowed qualit
                                                                                             y of life
     5                      claims to remain for kidney patients, but said it plans to reexa
                                                                                               mine the
     6                      validity of those claims.
     7              1 12.     On March 21, 2007, Reuters published an article entitled "U.S.
     8 House Committee Targets Anemia Drug marketing." The
                                                           articl                  e, in relevant part,
     9 stated:
    10                             The U.S. House Energy and Commerce Committee
    11                      has asked Amgen Inc.[]and Johnson &Johnson []for
    12                      information on their anemia drug marketing practices
    13                      following recent safety concerns.
    14                            Bath companies said on Wednesday that they will
    15                      comply with the request from committee.
    16                            The committee, which oversees the U.S. Food and
    17 '                    Drug Administration, made its request on Wednesday in
    18                      letters which also called for the companies to pull
    19                      advertisements and end financial incentives to
   20                       physicians.
   21              1 13.     On March 21,2007, U.S. Congressmen John Dingell and Bart
   22 Stupak wrote to Amgen and Johnson &Johnson seeking:
                                                         (i)                   records that contain
   23 information about the anemia drug studies that were halte
                                                                  d;(ii) documents related
   24 to the advertising ofthose products; and (iii) a statement as
                                                                    to when the companies
   25 first learned about any studies of the drugs that had been
                                                                 stopp          ed and when the
   26 firms notified the FDA. The lawmakers also ordered
                                                         Amgen                 and J&J to cease all
   27 direct-to-consumer advertising and physician incentives until
                                                                               the FDA determined
   28        whether measures need to be taken to protect the public from
                                                                               these products.

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        1           1 14.      On April 10,.2007, Amgen issued a press release announcing that
                                                                                                 its
        2 Chief Financial Officer Richard Nanula had abruptly resig
                                                                    ned.   Shares of Amgen
     3 reacted negatively to the news, falling from $57.12 to $5634.
                                                                          Amgen also
     4 announced that it would delay its earnings release by appro
                                                                     ximately five days to
     S include results of a clinical trial, Study 145, evaluating Arane
                                                                        sp as a treatment for
     6 small cell lung cancer in patients receiving chemotherapy.
     7        1 15. On April 16, 2007, Bloomberg published a story entitl "Amg
                                                                                ed       en
     8 Anemia Drug Tied to Deaths, Researchers Say" concerning the
                                                                          results of a study
     9 using Aranesp as treatment for Anemia of Cancer. The articl
                                                                       e in relevant part,
    10 revealed:
    11                             One in four cancer patients given Amgen Inc.'s
    12                      Ara.nesp anemia drug in a study died after 19 weeks, a
    13                      rate about 5 points higher than among those on a placebo,
    14'                     a finding likely to make doctors more cautious about the
    15                      product.
    16                             Researchers today released new details about the
    17                      study ofS51 cancer patients. The mortality rate was 49
   18                       percent after two years, compared with 46 percent for the
   19                       placebo, the scientists said today in Los Angeles. The
   20                       drug failed in the study to reach its goal of reducing
   21                       blood transfusions, according to the report.
   22                             While Aranesp is already the world's top-selling
   23                       drug to treat anemia, the trial may prevent Amgen from
   24                       winning U.S. approval to market the product for use in
   25                       cancer patients not receiving chemotherapy, as distinct
   26                   from those with anemia induced by such treatment.
   27                            "This is potentially apractice-changing study,"
   28                   said David Steensma, a hematologist at the Mayo Clinic

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     1                     in Rochester, Minnesota, in a press conference. He
     2                     wasn't involved with the study. "People are going to
     3                     become more cautious in this setting."
     4                            Amgen earlier said the study had found "a
     5                     statistically significant increased risk of death" associated
     6                     with the drug, prompting the company's shares to fall 4.5
     7                     percent on Jan. 26, the most in more than a year.
     8~
     91                           The study results were released at an American
    10!                    Association for Cancer Research meeting.
    11                            Of419 patients on the drug, 136 were dead after
    12 ,                   19 weeks and 250 after two years, according to the study.
   13                      Of432 patients on the placebo, or inactive medicine, 94
   14                      died within 19 weeks and 216 were dead after two years.
   15
   16                            Sales of Aranesp may fall as much as 20 percent
   17                      this year because ofthe negative clinical trial results.
   18               116.    On April 19,2007, Amgen announced that Study 145, which
   19 examined Aranesp's use in treating lung cancer patients, found that Aranesp did
   20 not increase the risk of death in patien#s receiving chemotherapy.
   21               117.    On Apri123, 2007, Amgen reported that first quarter 2007 earnings
   22 per share increased 19% to $1.08 per share. Amgen commented that it was,
   23 however, reviewing its revenue forecasts as sales of Aranesp and Epogen could
                                                                                    fal:
   24 due to recent negative study results. Shares of Amgen fell from $62.19 per
                                                                                           share
   25 to $61.22 per share.
   26               118.    On May 8, 2007,the FDA posted an analysis of Aranesp and
   27 Epogen on its website, and noted that the drugs were "clearly demonstrated
                                                                                 to          be
   28


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        1     unacceptable" in high doses. Shares of Amgen fell from $63.76 per
                                                                                        share to
      2 $62.66 per share.
      3              119.      On May 9,2007,the New York Times published an article entitled
      4 "Doctors Reap Millions for Anemia Drugs." Expanding on the earlier
                                                                                          news report
      5       in Forbes, the article described in detail Amgen's practice ofpaying "rebat
                                                                                              es" to
     6 doctors in proportion to the prescribed amount of Aranesp and Epoge
                                                                           n. The                  article's
     7 stated in relevant part:
                                   Two of the world's largest drug companies are
                             paying hundreds of millions of dollars to doctors every
    10                       year in return for giving their patients anemia medicines,
    1 i ',                  which regulators now say may be unsafe at commonly
    12'                     used doses.
    13
    14                             Critics, including prominent cancer and kidney
   15                       doctors, say the payments give physicians an incentive to
   ~~                       prescribe the medicines at levels that might increase
   17                       patients' risks of heart attacks or strokes.
   18                              Industry analysts estimate that such payments - to
   19                       cancer doctors and the other big users ofthe drugs,
   20                       kidney dialysis centers -total hundreds of millions of
   21                       dollars a year and are an important source of profit for
   22                       doctors and the centers. The payments have risen over
   23                       the last several years, as the makers ofthe drugs, Amgen
   24                       and Johnson &Johnson, compete for market shaxe and
   25                       try to expand the overall business.
   26 F.           The 2007 ODAC Meeting
   27              120.      Finally, on May 10, 2007, ODAC again met to discuss the status of
   28 ESAs(the "2007 ODAC Meeting"). After considering testimony
                                                                 from the FDA
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         i    and ESA marketers (including Amgen), ODAC voted overw
                                                                                helmingly in favor of
         2 restricting the use ofESAs and expanding existing warnings.
                                                                       The              FDA noted:
        3 "there is no evidence that ESAs improve quality of life or cance
                                                                                   r outcomes," and
     4 "data continue to accumulate regarding the increased risk
                                                                           of mortality and of
        5 possible tumor promotion from the use ofESAs."
     6              121.      The 2007 ODAC Meeting for the first time informed invest
                                                                                             ors ofthe
     7 1 serious safety concerns recognized by ODAC in 2004 and
                                                                            Amgen's woeful failure
     8 to conduct clinical trials of the type that ODAC had stated
                                                                   were    needed to assess
     9 the safety of ESAs. Dr. Vinni Juneja, a Medical Officer with
                                                                       the FDA's Office of
    10 Oncology Drug Products, was unequivocal:"With the 2004
                                                                      recommendations in
    1 1 ' mind, we ask the question, have any ongoing or propo
                                                               sed trials presented at ODAC
    12 2004 or since ODAC 2004 fully met the Committee's recom
                                                                     mendations? The
    13 answer, unfortunately, is no."
    14              122.     Dr. Juneja emphasized that"no completed or ongoing trial has
    15 addressed safety issues ofESAs in cancer patients with
                                                              chemo             therapy-associated
    16 anemia using currently approved dosing regimens in a genera
                                                                   lizabl            e tumor type."
    17              123.     Amgen's lack of candor at and after the 2004 ODAC Meeting
                                                                                                 was
    18 also cited by the FDA. Dr. Richard Pazdur, Director of
                                                              the FDA'             s Office of
    19 Oncology Drug Products commented:
    20                           I really think that there were, especially after the
    21                     2004 meeting, considerable controversy regarding the
    22                     safety ofthis drug which led obviously to that 2004
   23                      meeting. The sponsor really has an obligation. These are
   24                      notjust studies that were out there being done by
   25                      investigators, no, the two sponsors... in 2004 did
   26                      present these as trials that were supposed to answer the
   27                      questions that were posed by the Committee to
   28                      demonstrate the safety ofthese drugs. In subsequent

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         1                 conferences with the company,they told us that, "Wel
                                                                                      l,
         2                 we really don't have necessarily access to the data on
         3                 the studies." I really think if these studies were being
      4                    done to answer the questions, they really have the
      5                    obligation really to work with the investigators
      6                    prospectively after the 2004 meeting to provide us with
      7                    all ofthe data.
      8 (Emphasis added.)
      9             124.    Amgen's lack of candor was also cited in two subsequent
                                                                                            news
     10 articles. On the next day, May 11, 2007, the Los Ange
                                                              les        Times published an
     11       article where it stated that some members of ODAC sugge
                                                                         sted that Amgen "was
     12 not being upfront about all the drug's risks." Also on
                                                               May        11, 2007, a Bloomberg
     13 article reported that that the FDA was given limited
                                                             acces      s to results from
    14 company studies and that Amgen did not provide
                                                      comp          lete responses to the FDA's
    15 requests for data.
    16              125.   Among other things, ODAC voted unanimously in favor
                                                                                           of requiring
    17 ESA manufacturers to conduct further studies to suppo
                                                             rt the drugs' current
    18 indications. ODAC also voted 15-2 that the labeling
                                                            for Epogen and Aranesp
    19 should carry even stronger warnings than those in the
                                                             Black Box warning that had
    20 been added to the label in March.
    21              126.   Further, the FDA concluded that Amgen had misstated
                                                                                      the results of
    22 two of the studies submitted to the FDA. For Study
                                                          161,   Amgen had stated that
   23 the safety profile of Aranesp-treated patients was comp
                                                              arable to that ofthe
   24 placebo-treated group. When the FDA examined
                                                         the data, it found that there was
   25 shorter.overall survival and a higher incidence of
                                                         thrombovascular events in
   26 Aranesp-treated patients. For Study 145, Amgen repor
                                                              ted that no difference in
   27 overall survival was observed. The FDA disagreed,
                                                           finding that a failure to
   28

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        1 ~ demonstrate overall survival improvement with Aranesp does
                                                                             not exclude the
        2 I possibility that the Aranesp arm had decreased survival.
     3            127.    On May 10, 2007, as news ofthe 2007 ODAC Meeting circulated,
     4 shares of Amgen fell ftom $63.10 to $57.33 per share.
     5 G.         Defendants' False and Misleading Statements
     6           -128.    Throughout the Class Period, Amgen filed annual reports on Form
     7 10-K and quarterly reports on Form 10-Q with the SEC that contai
                                                                                 ned materially
     8 false and misleading statements, and various Defendants also made
                                                                            other false and
     9 misleading statements and omissions in public announcements
                                                                       and on conference
    10 calls with stock analysts regarding the following matters:(i)the
                                                                        outcome ofthe       ~
    1 1 DAHANCA 10 Trial,(ii) the outcome of the 103 Study,(iii)
                                                                     the safety of ESA
    12 drugs, growth potential ofsuch drugs, and risk of adverse
                                                                  action by ODAC and the
    13 FDA,and (iv)the Company's improper and illegal marketing
                                                                practices.
    14           1.      Defendants' Actionable Omissions Regarding the
    15                   DAHANCA 10 Trial
    16           129.     Amgen made actionable omissions of material fact when it failed to
    17 ~ ~ timely disclose the adverse outcomes ofthe DAHANCA
                                                                       10 Trial after learning of
    18 them on or about October 18, 2006 and December 1, 2006.
    19           130.     The adverse outcomes ofthe DAHANCA 10 Trial were highly
   20 material to investors, as evidenced by, inter alia, the substantial
                                                                          share     price decline
   21     resulting ftom its subsequent disclosure in The Cancer Letter on Febru
                                                                                    ary 16,
   22 2007. Indeed, Amgen itself confirmed the importance of the trial
                                                                               results by
   23 immediately arranging a conference call with analysts on the
                                                                   same         day that The
   24 Cancer Letter first disclosed them.
   25           131.     Amgen's failure to disclose the results of the DAHANCA 10 Trial
   26 was deceptive and actionable in light of its own prior relian
                                                                    ce     on the'DAHANCA
   27 10 Trial, its many affirmative statements during the Class Perio
                                                                       d regard      ing the
   28

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     1   safety of ESAs, and its regular practice of consistently and timely reported the
     2 results of clinical trials.
     3          132.     First, at the 2004 ODAC Meeting, Amgen described its                      ~
     4 pharmacovigilance program involving its ESA drugs, and specifically identified
     5 the DAHANCA 10 Trial as a component ofthat program. Amgen thereby adopted
     6 the DAHANCA 10 Trial as an important element in its stated effort to address the
     7 safety concerns raised by ODAC.
     8          133.     Second, Amgen made numerous statements regarding the safety and
     9 effectiveness of ESAs both before and during the Class Period, and such
    10 statements were false when made or were rendered false thereafter by
    it   nondisclosure of the DAHANCA 10 Trial results. These statements include April
    12 22,2004 statements relating to the 2004 ODAC Meeting (see paragraph 136), its
    13 statements affirming the safety ofESAs on November 16, 2006(see paragraph
    14   139), similar statements on December 4, 2006(see paragraph 140), and statements
    15   minimizing the significance of adverse results in the 103 Study on January 25,
    16 2007(see paragraph 141).
    17         134.     Third, Amgen's nondisclosure ofthe DAHANCA 10 Trial results
    18   was deceptive in light of its practice of routinely reporting the results ofclinical
    19 trials as they became available, including the following:
   20                  (a)   On November 12, 2005, a press release reporting results from a
   21    clinical trial involving the use of Aranesp to maintain stable hemoglobin control.
   22                 (b)    On December 11, 2005, a press release reporting interim results
   23 from a clinical trial involving the use of Aranesp to treat MDS.
   24                 (c)    On March 13, 2006, a press release reporting interim results
   25 from a clinical trial involving the use of Aranesp to treat patients with heart
   26 ailments.
   27                  (d)   On May 18, 2005, a press release reporting results from a
   28 clinical trial comparing the efficacy of J&J's Procrit with Aranesp.

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         1                  (e)   On June 3, 2006, a press release reporting further interim
     2 results from a clinical trial involving the use of Aranesp to treat MDS.
     3                      (~    On June 19, 2006, a press release reporting further interim
     4 results from a clinical trial involving the use of Aranesp to treat patient with
                                                                                  s            heart
     5 ailments.
     6                      (g)   On December 9, 2006, a press release reporting results from a
     7 clinical trial involving the extended dosing ofAranesp.
     8                      (h)   Also on December 9, 2006, a second press release reporting
          results from a clinical trial involving the use of Aranesp to treat anemia of cancer
     91
    10 !,(as distinct from chemo#herapy-induced anemia).
    11              2.      Defendants' False and Misleading Statements Regarding the
    12 '                    103 Study
    13               135.    As set forth above in paragraphs 70 and 71, Amgen misrepresented
    14 the results ofthe 103 Study by falsely characterizing them as "neutra
                                                                             l, and perhap           s
    15 negative" and focusing on the "gravely ill" patient population, when
                                                                            the        study, in
    16 fact, clearly contributed to the significant and growing safety concer
                                                                              ns regard        ing
    17 Aranesp.
    18              3.      Defendants' False and Misleading Statements Regarding the
    19                      Safety of ESAs,Potential for Market Growth,and Risk of
    20                      Adverse Action by ODAC
    21              136.     Defendants' deception concerning ODAC began prior to its 2004
   22 meeting. On a conference call with Wall Street analysts held on Apri12
                                                                             2,         2004 to
   23 discuss Amgen's first quarter 2004 results, Defendant Morrow respon
                                                                          dedto an
   24 analyst's inquiry about the 2004 ODAC meeting by stating that the
                                                                        Company "had
   25 decided to participate in that meeting `cause thefocus was not on
                                                                        Arane          sp and as
   26 Roger said late last year, there is no signal associated with Aranes
                                                                       p. We've had
   27 two perspective randomized placebo controlled trials. And the safety
                                                                          for Aranesp
   28 has been comparable to placebo." (Emphasis added.)

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        1           137.      This statement was false and misleading when made because it
     2 misrepresented or omitted the following material adverse facts:
     3                     (a)    that the focus ofthe FDA's inquiry was on the use ofthe
     4 Amgen-manufactured ESAs in oncology patients in the U.S. market. Indeed
                                                                              , the
     5        March 30, 2004 notice of the ODAC meeting, in the Federal Register, at
                                                                                           69 FR
     6        16582-02, stated that one of the two topics for the May 4 session was "Safet
                                                                                              y
     7 concerns associated with ARANESP(darbepoetin alfa) Amgen,Inc.,
                                                                      and
     8 PROCRIT(epoetin alfa) Ortho Biotech, L.P., both of which are indicat
                                                                            ed for        the '~
     9 treatment of anemia associated with cancer chemotherapy." (Emphasis
                                                                                   added); ~'
    10             (b) that in the absence ofwell-controlled trials demonstrating                ~
    11 otherwise, the FDA would assume that safety signals seen in earlier
                                                                               clinical trials ~
    12 applied to all ESA drugs, including Aranesp; and
                                                                                               ~
    13             (c) that no clinical trials to date had been designed to test overall
    14 survival rates or other clinically significant metrics, and therefore did not
                                                                                     provide a
    15 medically sound basis for the conclusion that "the safety for Aranes
                                                                               p has been
    16 comparable to placebo."
    17             138.      As adverse clinical trial results began to appear in late 2006, Amgen
    18 repeatedly asserted that substantial clinic evidence supported the purpor
                                                                                       ted safety
    19 of Epogen and Aranesp when prescribed in accordance with FDA-a
                                                                      pprove               d dosing
   20 guidelines. These statements repeated Amgen's pre-Class Period
                                                                     statem            ents
   21        concerning the drugs' safety, as set forth above in paragraphs 72 and
                                                                                     73.
   22              139.     On November 20, 2006, Amgen posted "Featured Content" on the
   23 Company's website titled "Amgen Responds to CHOIR and CREA
                                                                         TE Clinical
   24 Trial Data," in which it reaffirmed the safety of Aranesp and Epoge
                                                                          n for their on-
   25 label uses. The document stated in relevant part:
   26                            A very substantial body ofevidence, developed
   27                      over the past 17 yeazs, demonstrates that anemia
   28                      associated with chronic kidney disease can be treated

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         1                  safely and effectively with EPOGEN~ and Aranesp~,
         2                  when administered according to the Food and Drug
      3                     Administration(FDA)-approved dosing guidelines. In
      4                    particular, the FDA-approved labels for both drugs defin
                                                                                   e
      5                    regimens aimed at achieving a hemoglobin taxget not to
      6                    exceed 12 g/dL.
      7             140.     Amgen addressed additional negative reports of its ESA drugs'
      8 safety on December 4, 2006, when it issued a press relea
                                                                 se titled       "Amgen
      9 Responds to Reports About Use and Safety ofEPOGEN and
                                                              Arane                 sp in CKD
     10 Anemia Therapy." In this press release, the Company
                                                            stated        :
     11                           Amgen {] today posted to its corporate web site
     12                    documents intended to clarify Amgen's position on the
    13                     use ofEPOGEN(R)(Epoetin alfa) and Aranesp(R)
    14                    (darbepoetin alfa) and to correct what the company
    15                     believes are misleading and inaccurate news reports
    16                     regarding the use of its drugs.
    17
    18                           EPOGEN and Aranesp are effective and safe
    19                     medicines when administered according to the Food and
    20                     Drug Administration(FDA)label.
    21             141.     The following month,on its earnings call with stock analysts
    22 discussing fourth quarter results, held on January 25, 2007,
                                                                 Defendant Morrow
    23 minimized concerns raised by the 103 Study, commenting that
                                                                    "we have a wel!-
   24 established risk benefitprofile...."(Emphasis added
                                                            .)
   25       142. On the same call, Defendant Sharer echoed Morr
                                                                    ow's statements
   26 regarding ESAs' safety. Addressing an analyst's quest
                                                            ion about the safety of
   27 Epogen, he misleadingly distinguished the CHOIR study
                                                              on the grounds that it had
   28 involved a higher hemoglobin target:

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        1                        I think in the dialysis area, for EPOGEN in the
        2                 U.S., the CHOIR data clearly has gotten some interest,
        3                 but we want to emphasize that was for a hemoglobin
        4                 above what we dose, and what we promote and what's on
        5                 the label.
        6          143.     The same misrepresentation was repeated the following month,on
        7 February 16, 2007, when Amgen held a conference with analysts to discuss the
        8 DAHANCA 10 Trial in response to the premature termination ofthe study
        9 reported earlier that day in The Cancer Letter. Defendant Sharer told analysts
    10 "[w]e strongly believe, as we have consistently stated, that Aranesp and Epogen
    11      are safe and effective medicines when used in accordance with label indications."
    12             144.     Several weeks later, on a conference call sponsored by Goldman
    13 Sachs, Defendant Sharer again relied on the heightened hemoglobin target of a
    14 study —this time DAHANCA 10 — to misleadingly minimize its importance:
    15                           You asked a key question. How do you think
    16                    about data. that is not on-label as it affects the label? And
    i7                    in that question is a substantial judgment by people who
    18                    are qualified in the world ofscience and medicine. We
    19                    cannot say, it just doesn't matter at all, it's completely
   20                     irrelevant. On the other hand, I don't think we can say
   21                     it's completely definitive either. And so as the FDA and
   22                     we think about how to properly alert doctors to this
   23                     information, we have to work through that. And Ithink
   24                     the DAHANCA trial would be an example ofthat kind
   25                     ofa challenge; that is, a trial at a very, very high
   26                     hemoglobin.
   27 ~ ~(Emphasis added.)
   ~i

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        1         145.      During the same conference, Defendant Sharer stated that "When
        2   we look at the totality ofthe data, we believe our products are safe
                                                                                     and effective
        3 I when used on-la6e~" (Emphasis added.) Defendant Morr
                                                                          ow added: "As a
     4 ' reminder, there is a large body ofevidence in our labeled
                                                                          indications that
     5 support, as Kevin said, the safe and effective use ofAranes
                                                                   p."          (Emphasis added.)
     6            146.      On March 9, 2007, Amgen issued a statement titled "Amgen's
     7 Statement on the Safety of Aranesp~ (darbepoetin alfa) and EPO
                                                                      GEN              ~(Epoetin
     8 alfa)". In relevant part the statement misleadingly stated
                                                                  :
     9                            Aranesp~ (darbepoetin alfa) and EPOGEN~
    10                   (Epoetin alfa) havefavorable risk/benefitprofiles in
    11                    approximately four million patients with chemotherapy-
    12                    induced anemia or CKD when administered according to
    13                    the FDA-approved dosing guidelines.
    14 (Emphasis added.)
    15           147.      On Apri123, 2007, on a conference call with Wall Street analys
                                                                                             ts,
    16 Defendant Sharer again addressed the safety of Amgen's ESAs
                                                                   .            He stated:
    17                            The overwhelming conclusion that -- that I reach
    18                   and others have reached in looking at all that data is that
    19                   on label our drugs are certainly safe.
   20
   21                             At the ODEC meeting in some -- some weeks
   22                    there will be a much more complete discussion about all
   23                    ofthe data, and I am hopeful and optimistic that good
   24                    judgments will be made there. And so when I look at the
   25                    overall body of evidence, the -- the length oftime we
   26                    used these drugs, again, the aggregate ofthe results
   27                    demonstrates a solid benefrt risk profile when used on
   28                    label.

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     1
     21                          It is certainly our very, very strong conviction
     3'                    that our products are very safe when used on label The
     4                     new 145 data is obviously reinforces that point of view.
     5 (Emphasis added.)
     6              148.    On May 3, 2007, Amgen participated in the Deutsche Bank 32nd
     7 Annual Health Care Conference. In discussing the safety of ESAs,Bob Bradway,
     8 Amgen's Executive Vice President and Chief Financial Officer, stated in relevant
     9 part:"We believe Aranesp and EPOGEN have proven safe and effective for years,
    10 improving the lives of more than 4 million patients. The aggregate ofresults
    11 ~ demonstrate a solid benefit-risk profile when these products are used on-label."
    12 ~(Emphasis added.)
    13             149.     The statements set forth in paragraphs 139 through 148 were false
    14 and misleading because during the Class Period Amgen (i) was aware that well-
    15 designed clinical trials, including the DAHANCA 10 Trial, indicated substantial
    16 safety concerns with Epogen and Aranesp,(ii) was aware that ODAC had
    17 requested further studies in 2004 to evaluate these concerns but that Amgen had
    18 failed to conduct these studies, and (iii) was aware that as a consequence of its
    i9 failure to conduct the studies requested by ODAC in 2004, there was a substantial
    20 risk ofadverse action by ODAC when it reconvened to again consider the safety o1
   21        ESAs, as occurred on May 10, 2007.
   22              150.     Notwithstanding the serious safety concerns posed by ESAs,
   23 Defendants also repeatedly asserted that the drugs held significant growth
   24 ~ potential.
   25              151.     On July 22, 2004, Amgen issued an earnings release and held a
   26 conference call with Wall Street analysts to discuss its second quarter 2004 results.
   27 In response to a question from an analyst, Defendant Morrow stated: "You know,
   28 right now we really see a lot ofgrowth potential in the anemia market, and one of


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     1   the things we have to do is get beyond these products being used as replacements
    2 for transfusions and products that treat fatigue." (Emphasis added.)
    3          152.     Commenting further on Amgen's pharmacology program on the
    4 same conference call, Defendant Sharer added that "[w]e also continue to move
    5 forward on a variety ofclinical studies with Aranesp, which we believe has strong
    6 growth potential." (Emphasis added.)
    7          153.    On November 10, 2004, Amgen participated in the CIBC World
    8    Markets 15th Annual Healthcare Conference call. Defendant Nanula commented
    9 on Aranesp's potential going forward, stating:
   10                       what we think the big opportunity going forward
   11                 and have for a while is [] continued market penetration. I
   12                 think both we and our competitor, but I can really speak
   13                 for ours, we are investing heavily in the marketplace to
   14                 continue to grow in while we are working at gaining
   15                 share in the new ASP environment, which we'll talk
   16                 about in a moment,I think the market growth will
   17                 become more important versus market share gains as in
   18                 the past... We also have additional indications that we
   19                 are seeking in Aranesp, so we are highly focused on
   20                 growing this market, we think it has plenty ofroom to
   21                 grow as it's experienced in the last few years too.
   22
   23                      [WJe think the market has plenty ofroom fo
   24                 grow....
   25 (Emphasis added.)
   26          154.    On March 16, 2005, Amgen participated in the SG Cowen & Co.
   27 25th Annual Health Care Conference. Dr. Anthoni Gringeri,
                                                                Amgen's Senior
   28

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         1    Director of Scientific Research and Licensing Oper
                                                                   ations, commented on
        2 Aranesp's potential for growth as follows:
        3                         ... I wanted to highlight that this drug which has
        4                   now been on the market for a little over 3 years has
                                                                                    been
        5                  highly successful in treating anemia in a variety of
        6                  indications. And we're very concerned that anemia
        7                  remains a risk factor, both in renal disease and
                                                                              in other
        8                  areas. You'll see from the first bullet on this slide
                                                                                   that
     9                     more patients with chronic kidney disease still die
                                                                                   before
     10                    they reach dialysis. So there is a large population of
     11                    patients that needs to be reached. And we feel that
    12                     Aranesp is an ideal treatment option for these patie
                                                                                   nts.
    13             155.     The statements set forth in paragraphs 1S 1 through
                                                                                     154 were false
    14 and misleading when made because Amgen
                                              lack              ed any reasonable basis for
    15       projecting growth in sales of Aranesp or Epogen duri
                                                                     ng the Class Period in light
    16 the serious safety concerns associated with
                                                   ESA         s and the substantial risk that
    17 greater limitations would be placed on the
                                                  use of  ESAs by the FDA in light of
    18 Amgen's failure to conduct the clinic trials
                                                    recommended by ODAC in 2004.
    19      4.     Defendants' False and Misleading Statements
                                                                       Regarding Amgen's
   20              Improper and Illegal Marketing Practices
   21        156. During the Class Period, Amgen repeated
                                                                 ly misrepresented that its
   22 marketing practices complied with FDA regul
                                                      ations, including the FDA's
   23 prohibition on marketing drugs for off-labe
                                                   l uses.
   24             157.     In Amgen's public filings, Defendants represented:
   25                           We conduct research, preclinical testing, and
   26                     clinical trials and we manufacture and contract
   27                     manufacture our product.candidates. We also
   28                     manufacture and contract manufacture, price, sell,

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     1                    distribute, and market or co-market our productsfor their
     2                    approved indications. These activities are subject to
     3                    extensive regulation by numerous state and federal
     4~                   governmental authorities in the United States, such as the
     5 ~                  FDA and CMS,as well as in foreign countries, including
    6~                    Europe.
     7 (Emphasis added.)
     8'      158. The foregoing represent          ation was made in Amgen's Forms 10-K for
    9 the fiscal years ended 2004,2005, and 2006 and Forms 10-Q for the fiscal quarters
    10 ended June 30,2004, September 30,2004, March 31,2005, June 30,2005,
    11       September 30, 2005, March 31,2006,June 30,2006, September 30, 2006, and
    12 March 31, 2007.
    13             159.    Amgen and various ofthe Individual Defendants also repeatedly
    14 affirmed Amgen's compliance with FDA regulations governing marketing of off-
   15 label uses in public statements during the Class Period.
   16              160.    On December 4, 2006, in a press release titled "Amgen Responds to
   17 Reports About Use and Safety ofEPOGEN and Aranesp in CKD Anemia
   18 Therapy," the Company affirmed,"Amgen only promotes the use ofEPOGEN and
   19 Aranesp consistent with the FDA label."
   20              161.    The following month, on January 25, 2007, Defendant Morrow
   21        stated that "our promotion [of Epogen] has always been strictly according to our
   22 label, we do not anticipate a major shift in clinical practice." (Emphasis added.)
   23              162.    During the same call, Defendant Sharer again falsely affirmed
   24 Amgen's adherence to FDA rules barring marketing of off-label uses. Addressing
   25 an analyst's question about the safety of Epogen, he inaccurately asserted that the
   26 CHOIR study, which showed adverse health effects from use of Epogen, was of
   27 limited relevance because it "was for a hemoglobin above what we dose, and what
   28        we promote and what's on the label"


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        1 (Emphasis added.)
     2          163.    The statements set forth in paragraphs 157 through 162 were false
     3 and misleading because during the Class Period Amgen (i) actively mazketed its
     4 ESA drugs for off-label indications, particularly for MDS and anemia ofcancer,
     5 (ii) promoted usage ofthe drugs at dosage levels well above those approved by
                                                                                         the
     6 FDA and set forth on their labels, and (iii) presented the drugs as providing
     7 benefits, particularly enhanced quality of life, which are not set forth on the drugs'
     8 labels or approved by the FDA.
     9         5.      Defendants' False and Misleading Statements Regarding
    10                 Revenues and Earnings
    11          164.    The foregoing misrepresentations concerning safety problems with
    12 ESAs, nondisclosure of the risk of adverse action by ODAC and the FDA,
    13 misrepresentations and omissions concerning adverse clinic trial results, and
   14 misrepresentations concerning marketing practices all rendered Amgen's financi
                                                                                             al
   15 statements false and misleading during the Class Period.
   16          165.     In its press release dated July 22,2004 and Form 8-K dated July 28,
   17 2004, Amgen reported adjusted earnings per share of$0.62, net income of$748
   18 million, and revenues of$2.6 billion for the second fiscal quarter of2004. The
   19 same amounts were subsequently reported in the Form 10-Q filed by Amgen
                                                                                       for
   20 such quarter.
   21          166.    In its press release dated October 20, 2004 and Form 8-K dated
   22 October 26,2004, Amgen reported adjusted earnings per share of$0.64, net
   23 income of$236 million, and revenues of$2.7 billion for the third fiscal quarter
                                                                                      of
   24 2004. The same amounts were subsequently reported in the Form 10-Q filed
                                                                               by
   25 ~ Amgen for such quarter.
   26          167.    In its press release dated January 27,2005 and Form 8-K dated
   27 February 2, 2005, Amgen reported adjusted earnings per share of$0.58,
                                                                            net
   28 income of$689 million, and revenues of$2.9 billion for the fourth fiscal quarter

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     1 J 2004. The same amounts were subsequently reported in the Form 10-K filed by
     2 ~ Amgen for 2004.
     3          168.     In its press release dated Apri121, 2005 and Form 8-K dated April
     4 22,2005, Amgen reported adjusted earnings per share of$0.72, net income of
     5 $854 million, and revenues of$2.8 billion for the first fiscal quarter of2005. The
     6 same amounts were subsequently reported in the Form 10-Q filed by Amgen for
     7 J such quarter.
     8          169.     In its press release dated July 19, 2005 and Form 8-K dated July 25,
     9 2005, Amgen reported adjusted earnings per share of$0.88, net income of$1.0
    10 billion, and revenues of$3.2 billion for the second fiscal quarter of2005. The
    11   same amounts were subsequently reported in the Form 10-Q filed by Amgen for
    12 such quarter.
    13         170.      In its press release dated October 19,2005 and Form 8-K dated
    14 October 25, 2005, Amgen reported adjusted earnings per share of$0.85, net
    15   income of$967 million, and revenues of$3.2 billion for the third fiscal quarter of
    16 2005. The same amounts were subsequently reported in the Form 10-Q filed by
    17 Amgen for such quarter.
    18         171.      In its press release dated January 26,2006 and Form 8-K dated
    19 February 1, 2006, Amgen reported adjusted earnings per share of$0.75, net
   20 income of$824 million, and revenues of$3.3 billion for the fourth fiscal quarter
   21    2005. The same amounts were subsequently reported in the Form 10-K filed by
   22 Amgen for 2005.
   23          172.      In its press release dated April 18, 2006 and Form 8-K dated April,
   24 24, 2006, Amgen reported adjusted earnings per share of$0.91, net income of$1.0
   25    billion, and revenues of$3.2 billion for the first fiscal quarter of2006. The same
   26 amounts were subsequently reported in the Forth 10-Q filed by Amgen for such
   27 quarter.
   28

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                  173.    In its press release dated July 20, 2006 and Form 8-K dated July 24,
            2006, Amgen reported adjusted earnings per share of$1.05, net income of$14
            million, and revenues of$3.6 billion for the second fiscal quatter of2006. Thy
            same amounts were subsequently reported in the Form 10-Q filed by Amgen for
        ~ such quarter.
                  174.    In its press release and Form 8-K dated October 23, 2006, Amgen
            reported adjusted earnings per share of$1.04, net income of$1.1 billion, and
    8 revenues of$3.61 billion for the third fiscal quarter of2006. The same amounts
    9 i were subsequently reported in the Form 10-Q filed by Amgen for such quarter.
   10             175.    In its press release and Form 8-K dated January 25, 2007, Amgen
   11       reported adjusted earnings per share of$0.90, net income of$833 million, and
   12 revenues of$3.84 billion for the fourth fiscal quarter of 2006. The same amounts
   13 were subsequently reported in the Form 10-K filed by Amgen for 2006.
   14             176.    In its press release and Form 8-K dated Apri123, 2007, Amgen
   15 reported adjusted earnings per share of$1.08, net income of$1.1 billion, and
   16 revenues of$3.69 billion for the first fiscal quarter of2007. The same amounts
   17 were subsequently reported in the Form 10-Q filed by Amgen for such quarter.
   Y8             177.    The statements set forth.in paragraphs 165 through 176 were false
   19 and misleading because Amgen's misrepresentations concerning safety problems
   20 with ESAs, nondisclosure of the risk of adverse action by ODAC and the FDA,
   21       misrepresentations and omissions concerning adverse clinic trial results, and
   22 misrepresentations concerning marketing practices deceived investors as to the
   23 quality and nature of Amgen's revenue and earnings. In fact, such matters caused
   24 Amgen's revenue and earnings from ESAs to be at significantly greater risk of
   25 diminishing due to (i) later determinations that existing on- and off-label uses of
   26 the drugs were either unsafe or ineffective,(ii) regulatory action to limit or
   27 such uses, and (iii) increased enforcement preventing continued marketing in
   28 violation ofFDA law and regulations.


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     1                        ADDITIONAL SCIENTER ALLEGATIONS
     2              178.   During the Class Period, all Defendants sold substantial amounts of
     3 Amgen common stock from their personal holdings while in possession ofadverse
     4 non-public information about the risks of Aranesp. Defendants held positions that
     5       would have made them privy to information about the safety of Aranesp and about
     6 Amgen's business practices. The chart below details the number ofshares
     7 Defendants sold during the cuss period and the proceeds gained from such sales:
     8           Defendant                       Sale Date        #Shares   Market Value
     9           Dennis M.Fenton                 27-Jul-04         30,000      $1,683,300
    10                                          18-Aug-04          25,000        1,427,250
    11                                            3-Sep-04         20,000        1,192,200
    12                                          29-Oct-04          20,000        1,121,400
    13                                          12-Nov-04          20,000        1,182,400
    14                                           4-Feb-OS          27,896       1,745,453
    15                                         23-May-OS           30,000        1,847,100
    16                                           25-Jul-OS         46,848       3,796,093
    17                                           7-Nov-OS          25,000       2,000,000
    18                                           6-Dec-OS           3,049         243,249
    19                                          24-Feb-06          28,800       2,145,024
    20                                            1-Jun-06         30,000       2,045,400
    21                                          26-Oct-06          40,000       2,991,286
    22                                           7-Nov-06          40,000       3,012,505
    23                                           6-Dec-06           3,049         213,095
    24                                           8-Dec-06          20,000       1,403,000
    25                                               Total        409,642    $28,048,756
    26           Edward V. Fritzky              27-Apr-04         176,578    $10,506,549
    27                                           15-Jul-04          8,728         488,768
    28                                           27-Jul-04        195,136      10,903,581

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    1       Defendant                       Sale Date        #Shares     Market Value
    2                                       26-Oct-04         25,000         1,362,750
    3                                       26-Oct-04        182,360        9,831,956
    4                                        1-Feb-OS        204,340        12,771,010
    S                                      26-Apr-OS         151,800        8,800,690
    6                                           Total        943,942      $54,665,304
    7       Franklin P. Johnson            29-Apr-04          24,000              N/A
    8                                        7-Jun-04         40,000       $2,198,365
    9                                       5-Aug-04          12,400          696,693
   10                                       6-Aug-04          50,000        2,726,100
   11                                      12-Nov-04          57,600        3,438,108
   12                                      18-Nov-04          15,000          903,000
   13                                       3-Feb-OS          34,400        2,141,423
   14                                       7-Mar-OS          30,000        1,861,200
   15                                       5-May-OS          24,000             N/A
   16                                       9-May-OS          76,000        4,469,320
   17                                       2-Aug-OS         100,000             N/A
   18                                       7-Sep-OS          50,000             N/A
   19                                       8-Nov-OS          25,000        2,006,973
   20                                      14-Nov-OS          25,000        2,040,314
   21                                      17-Feb-06          40,000        2,979,588
   22                                           Total        603,400      $25,461,085
   23       Brian M.McNamee                12-Nov-04          40,000       $2,387,600
   24                                      16-Aug-OS          50,000        4,020,772
   25                                      10-Nov-OS         112,168        9,145,618
   26                                       3-Mar-06           2,157          162,616
   27                                       3-Mar-07           2,160          133,099
   28                                          Total         206,485      $15,849,705
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                Defendant                        Sale Date        #Shares    Market Value
     2          George J. Morrow                 25-Jui-OS        303,335     $24,604,492
     3          Richard D. Nanula               14-May-04           7,149        $405,634
     4                                          17-May-04           12,851        723,648
     5                                          16-May-OS           9,149         576,296
     6                                          i7-May-OS          40,851       2,559,169
     7I                                          3-Aug-OS          65,000       5,368,528
     g l                                       16-May-06           20,587            N/A
     9'                                         17-May-06          24,413       1,689,302
    10                                          31-Oct-06          30,000       2,280,000
    11                                               Total        210,000     $13,602,577
    12 '        Gilbert S. Omenn                 19-Jan-OS          2,200        $141,152
    13 '                                        1 1-Feb-OS          7,000         443,760
    14                                           7-Mar-OS           2,000         125,055
    15                                          25-Jan-06           1,885         141,262
    16'                                         22-Feb-06           6,000        450,769
    17                                           3-Mar-06           1,600         122,850
    18                                          25-Jan-07           2,120         159,297
    19                                              Totat          22,805      $1,584,145
    20         Roger M.Perlmutter                1-Apr-OS          10,979       $629,646
    21                                          27-Jul-OS          40,000       3,241,778
    ~x~
                                               17-Nov-OS          100,000       8,233,070
   23
                                                    Total         150,979     $12,104,493
   24          Kevin W.Sharer                  29-Apr-OS            3,224            N/A
   25
                                                28-Jul-OS         263,827     $21,392,522
   26
                                                8-Nov-OS           38,705            N/A
   27
                                                8-Nov-OS          945,460      75,449,234
   28

           co vIPLAINT FOR VIOLATION OF FEDERAL SECURITIES LAWS                         6I
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     1        Defendant                         Sale Date       #Shares         Market Value
     2                                               Total     1,251,216            $96,841,757
     3
     4          179.    Also, during the Class Period, and with the Company's securities
     5 ~ trading at artificially inflated prices, Amgen raised capital on signific
                                                                                   antly superior
     6 terms through its public financing activities. For example, due to the
                                                                              Company's
     7 artificially inflated securities prices, the Company was able to complete
                                                                                 two
     8 convertible bond offerings in November 2006, and two convertible note
                                                                             offerings
    9 in February 2006, realizing over $5 billion dollars for Amgen.
    10                           POST-CLASS PERIOD EVENTS
    11          180.    On May 10, 2007, Amgen received a subpoena from the New York
   12 Attorney General seeking documents related to "promotional
                                                                 activities, sales and
   13    marketing activities, medical education, clinical studies, pricing and contracting,
   14 license and distribution agreements and corporate communications
                                                                       ."
   15          181.    On May 15, 2007, Medicare announced a proposal to limit
   16 reimbursement for Aranesp to patients with especially severe
                                                                   anemia and deny it
   17 entirely to all patients with certain kinds of cancer.
   18          182.    On May 16, 2007, the United States Senate Committee on Finance
   19 issued a letter to Amgen "requesting a briefing to discuss the
                                                                     issues and concerns
   20 reported in the media as to the marketing and safety" of ESAs.
   21          183.    In response to the most recent developments, on May 22,2007,
   22 Amgen issued a press release insisting that the May 10, 2007
                                                                   findings by ODAC
   23    were only advisory and that FDA officials, while they commonly follow the
   24 ~ recommendations of their advisory panels, are not bound
                                                                to         do so.
   25          184.    On May 30, the Ranking Member ofthe Committee on Finance of
   26 the United States Senate, Senator Chuck Grassley, issued
                                                               a press release describi~
  27 his ongoing inquiry into the pricing and marketing of anti-an
                                                                   emia drugs given to
  28     kidney and cancer patients and the FDA's access to data from the drug maker's

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     1   studies ofsuch drugs. The press release included a letter from Senator Grassley to
     2 ~ Amgen's CEO, Kevin Sharer, requesting a briefing to discuss the issues and
     3 concerns over the marketing and safety of Aranesp and Epogen.
     4          185.   On July 16, 2007, Bloomberg, in an article entitled "Amgen,J&J
     5 Anemia Drugs Limited by California Insurer" stated that Blue Shield of California,
     6 a nonprofit insurer with 33 million members, is limiting payments for anemia
     7 drugs from Amgen Inc. and Johnson &Johnson, medicines that at high doses are
     8 tied to heart attacks and stroke. Shares of Amgen fe1190 cents, or 1.6 percent, to
     9 $56.03.
    10          186.   On July 30, 2007, the U.S. Centers for Medicare and Medicaid
    i t ~ Services announced plans to limit what dosages of the EPO drugs it would
    12 reimburse for saying the drugs are only necessary for patients with hemoglobin
    13 levels less than 10 grams per deciliter. Amgen shares fell $2.74, or 5.1 percent, to
    14 $51.
    15         187.    On August 10, 2007, the Los Angeles Times commenting on the
    16 government's new reimbursement rules for EPO drugs, quoted a biotech analyst
    17 with Thomas Weisel Partners as predicting the federal government may no longer
    18 reimburse doctors far as many as a third ofthe patients currently on the
    19 medications.
   20          188.    On August 13, 2007, the Associated Press reported that Amgen
   21    would "likely lose at least 40 percent oftheir US Aranesp revenue by 2008 with
   22 even greater downside possible for both Aranesp and Epogen if upcoming
   23 reimbursement and regulatory decisions go against them."
   24          189.    On August 15, 2007, Amgen announced initiatives to reduce
   25 company staff by 12-14 percent. The Company also announced that adjusted
   26 earnings per share guidance for 2007 has been changed from $4.28 to a range of
   27 $4.13-$4.23, excluding restructuring charges. Amgen acknowledged that the
   28 'cutbacks are in direct response to lower sales of Aranesp.

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     1              190.    In an article dated August 16, 2007, Kerry A. Dolan, writing for
    2 ~ Forbes, suggested that it is: "the perils of pushing some drugs too hard and too
     3       broadly" that "came home to roost" a day earlier, when "Amgen announced a
    4 1 restructuring that includes laying off as many as 2,600 people and cutting spending
     5       by $1.9 billion.
    6               191.    On September 11, 2007, a panel ofexperts for the FDA met to
    7 further discuss the risks involved in the use of ESAs to treat Anemia of Cancer.
    8 ' While the panel voted against requiring Amgen to label Aranesp and Epogen with
    9 i a ceiling hemoglobin level of 11 g/dL, in an article dated September 12, 2007,
    10 CNN.money.com reported that the scrutiny into Amgen's practices and the risks in
    11       the off-label use of ESAs is not over.
    12              192.   The FDA is still expected to make some changes to the label, said
   13 agency spokesman Karen Riley. But when asked to recommend a red blood cell
   14 limit for the label, the answers from the panelists varied widely. Analysts didn't
   15        laud the vote as a major victory for Amgen, but portrayed it as a problem averted.
   16 James Reddoch, analyst for Friedman, Billings, Ramsey, referred (in a published
   17 note) to the vote as a "bullet dodged" and "the lack of a new negative, more than
   18 a positive." Christopher Raymond, analyst for the firm R.W. Baird, wrote in his
   19 note that "our worst fears did not come true" but said Amgen's franchise is not
   20 "out ofthe woods" because FDA scrutiny is expected to continue.
   21                                  CLASS ACTION ALLEGATIONS
   22              193.    Plaintiff brings this action as a class action pursuant to Federal Rule
   23 of Civil Procedure 23(a)and (b)(3)on behalf of a Class consisting of all persons
   24        who purchased the securities of Amgen during the period from Apri122, 2004
   25 through May 10, 2007, inclusive. Excluded from the Class are Defendants; the
   26 affiliates and subsidiaries ofthe Company; the officers and directors ofthe
   27 Company and its subsidiaries and affiliates at all relevant times; members ofthe
   28        immediate family of any excluded person; the legal representatives, heirs,


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     1        successors, and assigns of any excluded person; and any entity in which any
     2 excluded person has or had a controlling interest.
     3              194.     The members of the Class are so numerous that joinder of all
     4 members is impracticable. Throughout the Class Period, Amgen had more than 1.1
     5 billion of shares of common stock outstanding, which were actively traded on the
     6 NASDAQ. The average daily trading volume during the Class Period was more
    ~ ~I than 9.14 million shares. While the exact number of Class members is unknown to
       i
    8 ~ Plaintiff at this time, Plaintiff believes that there are at least thousands of members
    9 ~ ofthe proposed Class. Record owners and other members ofthe Class may be
    10 I identified from records maintained by Amgen or its transfer agent and can be
    1 1 '~, notified ofthe pendency ofthis action by mail and publication using forms of
    12 notice similar to those customarily used in securities class actions.
   13 I             195.     Plaintiffls claims are typical ofthe claims of the members ofthe
   14 ' Class as all members ofthe Class were similarly damaged by Defendants'
   15 ' wrongful conduct as complained of herein.
   i6 '            196.      Plaintiff will fairly and adequately protect the interests of the   ~
   17 members ofthe Class and has retained counsel competent and experienced in class
   18 and securities litigation. Plaintiffhas no interests that conflict with the interests of
   19 the Class.
   20              197.     Common questions oflaw and fact exist as to all members ofthe
   21        Class and predominate over any questions solely affecting individual members of
   22 the Class. Among the questions oflaw and fact common to the Class are:
   23                      (a)   whether Defendants' statements and omissions during the Class
   24 Period materially misrepresented the safety of Aranesp;
   25                     (b)    whether Defendants' acts and omissions as alleged herein
   26 violated federal securities laws;
   27                     (c)    whether Defendants participated in the wrongful scheme
   28 described herein;


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     1                     (d)   whether Defendants acted with scienter; and
     2                     (e)   whether the members of the Class have sustained damages and
     3 the proper measure of damages.
    4               198.    A class action is superior to all other available methods for the fair
    5 and efficient adjudication ofthis controversy. As the damages suffered by many
    6 individual Class members may be small relative to the expense and burden of
    7 individual litigation, it is practically impossible for most members ofthe Class to
    8 individually redress the wrongs done to them. There will be no difficulty in the
    9 management of this action as a class action.
    10                    APPLICABILITY OF PRESUMPTION OF RELIANCE:
    11                           FRAUD-ON-THE-MARKET DOCTRINE
   12              199.     At all relevant times, the market for Amgen securities was an
   13 efficient market for the following reasons, among others:
   14                     (a)    Amgen's stock met the requirements for listing, and was listed
   15 and actively traded on the NASDAQ,a highly efficient and automated market;
   16                     (b)    As a regulated issuer, Amgen filed periodic and other public
   17 reports with the SEC and the NASDAQ;
   18                     (c)    Amgen regularly communicated with public investors by means
   19 ofestablished market communication mechanisms, including through regular
   20 disseminations of press releases on the national circuits of major newswire services
   21        and through other wide-ranging public disclosures, such as communications with
   22 the financial press and other similar reporting services; and
   23                     (d)    Amgen was followed by numerous securities analysts employ
   24 by major brokerage firms who wrote reports which were distributed to the sales
   25 force and customers of their respective brokerage firms. Those reports were
   26 publicly available and entered the public marketplace.
   27              200.     As a result of the foregoing, the market for Arngen's securities
   28 promptly digested current information regarding Amgen from all publicly avai
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        l      sources and reflected such information in Amgen's stock price.
                                                                                 Under these
        2 circumstances, all purchasers of Amgen's securities durin
                                                                    g
                                                                    the Class Period
     3 suffered similar injury through their purchase of Amgen's
                                                                   securities at artificially
     4 inflated prices, which fell as the truth concerning Aranesp
                                                                   became known, and a
     5 presumption of reliance applies.
     6                                      NO SAFE HARBOR                                             i
     7              201.    The statutory safe harbor provided for forward-looking state
                                                                                             ments
     8 under certain circumstances does not apply to any ofthe alleg
                                                                     edly          false statements
     9 pleaded in this complaint. Many ofthe specific state
                                                            ments          pleaded herein were not
    10 identified as "forward-looking statements" when made.
                                                             To the            extent there were
    11 ~ any forward-looking statements, there were no meaningful
                                                                           cautionary statements
    12 ~I identifying important factors that could cause actual
                                                                  results to differ materially
    13 ~ from those in the purportedly forward-looking state
                                                                ments. Alternatively, to the
    14 I~ extent that the statutory safe harbor does apply to any forwa
                                                                        rd-looking statements
    15 pleaded herein, Defendants are liable for those false forwa
                                                                      rd-looking statements
   16 because at the time each ofthose forward-looking state
                                                                   ments was made, the
   i7 particular speaker knew that the particular forward-lo
                                                                 oking statement was false,
   18 and/or the forward-looking statement was authorized
                                                                 and/or approved by an
   19 executive officer of Amgen who knew that those state
                                                                  ments were false when
   20                                     LOSS CAUSATION
   21              202.    As detailed herein, throughout the Class Period, the Defen
                                                                                        dants
   22 made material misrepresentations and omissions and enga
                                                              ged            in a scheme and
   23 course of conduct to deceive the market that resul
                                                         ted in artifi      cially inflated prices
   24 for Amgen common stock. As a result, Plaintiff and
                                                         other         members ofthe Class
   25 purchased Amgen common stock at artificially infla
                                                         ted price         s. When the
   26 Company's prior misrepresentations, omissions and
                                                        other.      fraudulent conduct were
   27 revealed through a series of partial corrective discl
                                                            osures, the price of Amgen
   28 common stock fell significantly on several occasions
                                                              (as detailed herein}, as

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        1      portions ofthe artificial inflation were removed from the
                                                                           Company's stock price.
        2 As a result of its purchases of Amgen common stock
                                                             during the Class Period,
     3 Plaintiff and the other members ofthe Class therefore
                                                             suffered economic loss.
     4 Disclosure of the Halt of the DAHANCA 10 Tria
                                                         l
     5               203.    On February 16, 2007, a Washington based newsletter, The
                                                                                               Cancer
     6 Letter, reported that the DAHANCA 10 Trial had been
                                                           halte             d four months earlier,
     7 in October 2006, because it showed adverse outcomes
                                                                     in patients using Aranesp.
     8 'The same day, Amgen's stock dropped $1.55 per share
                                                                     , or 2.3%,to $66.73.
     9 Disclosure of the SEC Inquiry
    10              204.    After the maxket closed on February 28, 2007, Amgen
                                                                                      announced
    11        that it had received an informal inquiry from the SEC rega
                                                                           rding its disclosure of
    12 the DAHANCA 10 Trial.
    13              205.    The following day, on March 1, 2007,the Company'
                                                                           s stock price
    14 declined from $64.26 per share to $61.70 per share
       i                                                  , a one day decline of4%.
    15 ! Disclosure of the FDA Health Advisory
    16        206. On March 9, 2007, the FDA announced that
                                                                   it would mandate a
   17 black box warning for ESAs,including Aranesp and
                                                            Epogen, as a result ofsafety
   18 concerns with the drugs. The boxed warning recommen
                                                               ded the drugs be used at
   19 the lowest dose possible. Immediately followin
                                                      g this disclosure, the Company's
   20 share price declined $1.31 per share, or 2.1%,to $60.
                                                             86.
   21        Disclosure of the ODAC 2007 Recommendation for
                                                                     ESAs
   22              207.     On May 10, 2006, ODAC voted at a public hearing in
                                                                                     favor of
   23 adding new restrictions on the use ofESA drug
                                                    s and          requiring the drug makers to
   24 conduct new clinical trials. Members of ODAC expr
                                                        essed conc             ern regarding the
   25 safety of the drugs, Amgen's failure to conduct
                                                      the clinical         trials previously
   26 requested by ODAC in 2004, and reports ofimpr
                                                    oper marketing practices by
   27 Amgen and J&J. Immediately following this discl
                                                      osure, Amgen's stock dropped
   28 $5.77 per share, or 9.1%, to $5733.


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        1                                FIRST CLAIM FOR RELIEF
        2                     fFor Violation of Section 10(b) of the Exchange Act
        3                           and Rule lOb-5 Against All Defendants)
     4              208.      Plaintiff repeats and realleges each and every allegation contained
     5 above as if fully set forth herein.
     6              209.      During the Ciass Period, Defendants carried out a common plan,
     7 scheme and course of conduct which was intended to and, throu
                                                                           ghout the Class
      8 Period, did:(i) deceive the investing public, including Plaintiff
                                                                          and other Class
     9 members, as alleged herein; and (ii) cause Plaintiff and other
                                                                        members ofthe Class
    10 to purchase Amgen securities at artificially inflated prices
                                                                    . In furtherance ofthis
    l i unlawful scheme, plan and course of conduct, Defendants,
                                                                     and each ofthem,took
    12 the actions set forth herein.
    13              210.      Defendants (i)employed devices, schemes and artifices to defra
                                                                                                  ud;
    14 (ii) made untrue statements of material facts ancVor omitted
                                                                             to state material facts
    15 necessary to make the statements not misleading; and (iii)
                                                                  engag          ed in acts,
    16 practices and a course of business which operated as a
                                                              fraud and           deceit upon the             ~
    17 purchasers of the Company's securities in an effort to maint
                                                                    ain         artificially high        I~
    18       market prices for Amgen's securities in violation of Section 10(b)
                                                                                   of the Exchange
    19 Act and SEC Rule l Ob-5. All Defendants are liable either
                                                                 as           primary participants
   20 in the wrongful and illegal conduct charged herein or
                                                            as contro          lling persons as
   21        alleged below.
   22              211.    Defendants, individually and in concert, directly and indirectly,
                                                                                                by
   23 the use, means or instrumentalities of interstate commerce
                                                                 and/o
                                                                     r of the mails,
   24 engaged and participated in a continuous course ofconduct
                                                                to conceal adverse
   25 material information about Amgen's financial well-being, busin
                                                                     ess and prospects,
   26 as specified herein.
   27              212.    These Defendants employed devices, schemes and artifices to
   28 defraud, while in possession of material adverse non-public
                                                                             information and

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         engaged in acts, practices, and a course ofconduct as alleged herein in an effort to
     2 assure investors of Amgen's financial condition and performance and continued
     3 substantial growth, which included the making of, or the participation in the
     4 making of, untrue statements of material facts and omitting to state material facts
     S necessary in order to make the statements made about Amgen and its business
    6 operations and future prospects in light of the circumstances under which they
     7 were made, not misleading, as alleged more particularly herein, and engaged in
    8 transactions, practices and a course of business which operated as a fraud and
    9 deceit upon the purchasers of Amgen securities during the Class Period.
    io         213.     Each ofthe Individual Defendants' primary liability, and controlling ~
    11   person liability, arises from the following facts:(i) the Individual Defendants were ',
    12 high-level executives and/or directors at the Company during the Class Period and ~
   13 members of the Company's management team or had control thereof;(ii) each of ~
   14 these Defendants, by virtue of his responsibilities and activities as a senior officer '~
   15 and/or director of the Company was privy to and participated in the creation,
   16 development and reporting ofthe Company's internal. budgets, plans, projections
   17 and/or reports;(iii) each ofthese Defendants enjoyed significant personal contact
   18 and familiarity with the other Defendants and was advised of, and had access to,
   19 other members of the Company's management team, internal reports and other
   20 data and information about the Company's finances, operations, and sales at all
   21    relevant times; and (iv) each of these Defendants was aware of the Company's
   22 dissemination of information to the investing public which they knew or recklessly
   23 disregarded was materially false and misleading.
   24          214.    The Defendants had actual knowledge ofthe misrepresentations and
   25 omissions of material facts set forth herein, or acted with reckless disregard for the
   26 truth in that they failed to ascertain and to disclose such facts, even though such
   27 facts were available to them. Such Defendants' material misrepresentations and/or
   28 omissions were done knowingly or recklessly and for the purpose and effect of

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     1    concealing Amgen's financial well-being, business relationships, and prospects
     2 from the investing public and supporting the artificially inflated price of its
     3 securities. As demonstrated by Defendants' overstatements and misstatements of
     4 the Company's business prospects throughout the Class Period, Defendants, if they
     5 did not have actual knowledge ofthe misrepresentations and omissions alleged,
     6 were reckless in failing to obtain such knowledge by deliberately refraining from
     7 ~ taking those steps necessary to discover whether those statements were false or
     8 misleading.
     9         215.     As a result ofthe dissemination ofthe materially false and
    10 misleading information and failure to disclose material facts, as set forth above, the
    11   market price of Amgen's securities was artificially inflated during the Class
    12 Period. In ignorance ofthe fact that market prices of Amgen's securities were
    13 artificially inflated, and relying, directly or indirectly, on the false and misleading
    14 statements made by Defendants, or upon the integrity of the market in which
   15    Amgen's securities trade, andlor in the absence of material adverse information
   16 that was known to or recklessly disregarded by Defendants, but not disclosed in
   17 public statements by Defendants during the Class Period, Plaintiff and the other
   18 members of the Class acquired Amgen securities during the Class Period at
   i9 artificially high prices and were damaged thereby.
   20          216.    At the time of said misrepresentations and omissions, Plaintiff and
   21 ~ the other members ofthe Class were ignorant oftheir falsity, and believed them
                                                                                       to
   22 be true. Had Plaintiff and the other members ofthe Class and the marketplace
   23 known the truth regarding the problems that Amgen was experiencing, which were
   24 not disclosed by Defendants, Plaintiff and the other members of the Class would
   25 not have purchased or otherwise acquired their Amgen securities, or, if they had
   26 acquired such securities during the Class Period, they would not have done so
                                                                                    at
   27 ,the artificially inflated prices which they paid.
   28

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     1         217.     By virtue ofthe foregoing, Defendants have violated Section 10(b)
     2 ofthe Exchange Act and SEC Rule l Ob-5 promulgated thereunder.
     3         218.     As a direct and proximate result of Defendants' wrongful conduct,
     4 Plaintiff and the other members ofthe Class suffered damages in connection with
     5 their respective purchases and sales of the Company's securities during the Class
    6 Period.
     7                            SECOND CLAIM FOR RELIEF
     8                 (For Violation of Section 20(a) of the Exchange Act
    9                            Against the Individual Defendants)
    10         219.     Plaintiffrepeats and realleges each and every allegation contained
    11   above as if fully set forth herein.
    12         220.     The Individual Defendants were controlling persons of Amgen
    13   within the meaning of Section 20(a) of the Exchange Act as alleged herein. By
    14 virtue oftheir high-level positions, and their ownership and contractual rights,
    15 ~ participation in andlor awareness ofthe Company's operations and/or intimate
    16 knowledge ofthe false financial statements filed by the Company with the SEC
    17 and disseminated to the investing public, the Individual Defendants had the power
   18 to influence and control and did influence and control, directly or indirectly, the
   19 decision-making ofthe Company,including the content and dissemination ofthe
   20 various statements which Plaintiff contends are false and misleading. The
   21    Individual Defendants were provided with or had unlimited access to copies ofthe
   22 Company's reports, press releases, public filings and other statements alleged by
   23 Plaintiff to be misleading prior to and/or to shortly after these statements were
   24 issued and had the ability to prevent the issuance of the statements or cause the
   25 statements to be corrected.
   26          221.     In particular, each ofthe Individual Defendants had direct and
   27 supervisory involvement in the day-to-day operations of the Company and,
   28 therefore, is presumed to have had the power to control or influence the particular

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     1 ~ transactions giving rise to the securities violations as alleged herein, and exercised ~
    2 ~ the same.
    3'         222.     As set forth above, Amgen and the Individual Defendants each
    4 violated Section 10(b)and SEC Rule l Ob-5 by their acts and omissions as alleged
    5    in this Complaint. By virtue of their positions as controlling persons, the
    6 Individual Defendants are liable pursuant to Section 20(a)of the Exchange Act.
    7 As a direct and proximate result of Defendants' wrongful conduct, Plaintiff and the
    8 other members ofthe Class suffered damages in connection with their purchases of
    9 the Company's securities during the Class Period.
   10                                 REQUEST FOR RELIEF
   11           WHEREFORE,Plaintiff prays for relief and judgment on behalf of itself and
   12 the Class, as follows:
   13                 (a)    Determining that this action is a proper class action and
   14 certifying Plaintiff as class representative under Rule 23 of the Federal Rules of
   15 Civil Procedure;
   16                 (b)    Awarding compensatory damages in favor of Plaintiff and the
   17 other members of the Class against all Defendants,jointly and severally, for all
   18 damages sustained as a result of Defendants' wrongdoing, in an amount to be
   19 proven at trial, including interest thereon;
   20                 (c)    Awarding Plaintiff and the Class their reasonable costs and
   21    expenses incurred in this action, including counsel fees and expert fees; and
   22               (d)      Such other and further relief as the Court may deem just and
   23 proper.
   24                                      JURY DEMAND
   25
   26          Plaintiff demands a jury trial as to all issues so triable.
   27
   28

         COMPLAINT FOR VIOLATION OF FEDERAL SECURITIES LAWS                                73       ~~
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                           ,~1,                                ~-~




     1    Dated: October 1, 2007
    2
    3                                        " Gretchen M. Nelson(#112566) \
    4                                          Mark Labaton(#15955$)
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    8
                                            Local Counsel
    9
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   16
                                            Attorneysfor Lead Plaint~Connecticut
   17                                       Retirement Plans and Trust Funds and Lead
   18                                       Counselfor the Putative Class

   19 ~
   20
   21 '
   22 I
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          COMPLAINT FOR VIOLATION OF FEDERAL SECURITIES LAWS                        74 I   ~8
          Case No.: CV 07-2536 PSG(PLAx)
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                             EXHIBIT A
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                                                       f




                             EXHIBIT A

                                                                               16
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                                     AMENDED CERTIFICATION


                 I,Catherine E. LaMarr,as General Counsel to the Connecticut Retirement Plans &

 Trust Funds ("Connecticu~~, hereby cerdfp as follows:

                    1.    i am fully authorized to enter into and execute this Certification on behalf of

 Connecricut. I have reviewed the Consofida.ted Amended Class Action Complaint For Violation of

 Federal Securities Laws prepared against Amgen Inc.("Amgen' ;

                    2.     Connecticut did not purchase Amgen at the direction of counsel or in order to

 participate in anp private action under the federal securities laws;

                    3.    Connecticut is willing to serve as a lead plaintiffin this matter,including

 providing testimony at deposition and trial, if necessary;

                    4.    Connecticut's transactions in Amgen for the class period from Apri122,2004 to

 May 10,2007,are reflected in Exhibit A,attached hereto;

                    5.    Connecticut has not sought to serve as a'lead plaintiff in a class action uflder the

 federal securities laws tinting the last three years preceding the date of this certification. Connecticut has

 sought to serve,and has been appointed,as lead plaintifEin a deuvative action captioned I~ r~

  UxitedHealth Gmuj~ Incorporation Shareholder Derivative Lst:gation, No.06-1216 JMR-FLN (D. Minn.).

                    G.    Beyond its pro rata share of any recovery, Connecticut will not accept payment

 for serving as a lead plaintiff on behalf of the class, except the reimbursement ofsuch reasonable costs

  and expenses (including lost wages) as ordered or approved by the Court.


                 I declare under penalty of perjury, under the laws of the United States, that the foregoing

 is tzue and correct this •~7`day a                     007. ~,




                                                         Genara!Counrel,
                                                         Connecticut Retirement                            s




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  Exhibit A
  Connecticut Retirement Plans &?rust Funds
  Class Pcaod: 04/22J2004 to 05/10/2007

  AMGEN IN'C

                ?tade
  Trans Type     Date      Shares       Price Per Space   Cost/ Procecds

  BUY          04/26/04       7,284.00 ~        59.15        (g430,838.4U)
  SELL         05/18/04     -7,284.00 ~         56.05          X408,286.32
  SELL         06/18/04     -4,000.00 $         53.78          $215,114.96
  SELL         07/30/04     -2,400.00 $         56.88          $136,508.80
  BUY'         09/15/04     15,083.00 $         58.26       ..($878,792.89)
  $UY          09/22/04     13,970.00 ;         58.05        (811,004.60)
  BUY          09/23/04       1,799,00 ~        57,88        ~104,127.9~
  BUY          09/28/04     22,879.00 $         5731       (y1,3I1,298.44)
  BUY          10/05/04     73,308.00 j         57.41      ($4,208,773.5
  BUY          10/19/04       7,951.00 $        56.72        ($450,960.84)
  SELL         11/16/04    -27,880.00 s         59.57        ~S,G60,906.54
  SELL         11/17/04    -27,880.00 $         59.82        ~1,G67,689.59
  BUY          12/01/04           5.00 ;        60.81            (#304.0
  SUY          12/01/04         692.00 $        60.80         (X42,072.56)
  BiJY         12/02/04       6,983.00 ~        62.45        0436,084.16)
  $UY          12/14/04     14,310.00 $         64.58        ($924,084.00)
  SELL         12/21/04    -15,271.00 g         63.48          $969,410.92
  SELL         Ol JO5/OS   -10,841.00 $         62.71          X679,837.28
    •r•r•      Ol/OG/OS    -13,008.00 $         63.01          $819,591.47
  SELL         01/18/05    -12,421.00 $         63.88          X793,488.23
  SELL         01/19/05     -2~91G.00 $         63.75          $185,903.46
  SELL         01/19/05    -29,809.00 $         63.77        X1,900,919.97
  SELL         01/20/05    -16,954.00 ~         63.35        X1,074,005.64
  BUY          04/04/05       4,565.W $         57.16        (#260,913.9
  $UY          04/05/05       4,559.00 $        57.65        ($262,816.77)
  BUY          05/09/05           3.00 ~        59.97             X179.92)
  BUY          05/09/05     32,591.00 $         60.07      (~1,957,852.1~
  BLTY         05/10/05     44,795.00 $         60.88      (j2,727,245.03)
  BUY          05111/05     38,274.00 $         60.88      ($2,330,191.56)
  BUY          05/23/05       4,2]1.00 ~        61.46        (~2b0,909.35)
  BLJY         05/24/05     10,789.00 g         62.78        ('$677,342.0
  BLIY         OG/01/OS     18,400.00 s         6335       ($1,]65,728.32)
  SELL         OG/06/05     -3,329.00 $         61.47          ;204,63538
  SELL         06/07/05      -7,763.00 $        60.76          ~471,G69.4G
  SFI.L        07/Ob/OS     -5,341.00 ;         63.58          1339,579.93
  BUY          08/02/05       9,854.00 ~        8271         ($814,980.0
  BUY          08/03/05     23,746.00 i         83.17      ($1,975,002.32)
  BUY          08/08/05       4,926.00 $        80.38        ($395,970.60)
  BUY          08/08/05     10,788.00 $         80.43       "('867,625.98)
  BUY          08/09/05     20,625.00 $         79.56      ($1,G40~832.19)
  SFLI.        08/10/05      -3,000.00 $        79.57          ;238,700.01
  BUY          OB/!G/05       6,018.00 $        80.40        (~483,8G7.G~
T8
                               ~00'400`9S~         i0'OL      3    00'008        90/Ti/t+0     1~(lg
                              S6'ZSZ`bLT.$         SI'OL      $    00'b8b`Z-     90/ii/ti0    'TTHS
                               ib'Si£~OOZ3         88'4L      t    00'928`Z-     90/OI/40     TI'3S
                               ~00'SLO`9t+i~       b0'£L      ~    04'000'Z      90/i£/£0      ~f1S
                               £8'T9L`£9£$         SL'ZL      t    00'000`5-     90/i£/£0     TIdS
                              8b'S£5`4h8`i#        LZ'£L      $    00'~Li`SZ-    90/8Z/£0     'T'I~S
                               £G'OOb`SSi$         SI'ZL      Z    00'1~Si~Z-    90/iZ/£0     'I'~~S
                               ££'GLLbZI`13        SZ'£L      g    00'00£~Si-    90/Lt/£0      TICS
                               IS'tLti`L6£S        9ti'tiL    ~    00'5££`5-     90/LI/ZO     'IT1S
                               S6'Lti6`6L£!        OL'ZL      ~    00'OLZ`S-     90/80/ZO     7T3S
                               GO'OSO~L983         OI'LL      Y    00'9tiZ`I1'   90/OZ/IO     'ITdS
                              84'IOtr`851Z '       £Z'9L      $    00'8L0`Z'     90/OZ/IO     T~dS
                               9£'Zl£`S$           66'9L      ~    00'b9-        90/OZ/t0     'ITriS
                               LL'Z95`690`i$       98'8L      $    00'Z9S~£i-    90/90/IO     TI3S
                               ~LZ'Gitr`£ib~       09'IS      i    00'ti6L~Tti   SO/i0/Zi       Af1S
                               00'896`L6$          i~9'i8     $    00'OOZ`i-     50/ZO/Zi     'TIiIS
                              (£0'66£`6ti53~       Q6'1fl     $    00'6tiL~9     SO/8Z/II       Af'1g
                              (Lb'b08`LOZ`14)      86'Z8      $    00'SS6`bi     SO/£Zlii       Jifl$
                                ~£8"808`I853~       LL'£8     S    OQ'046`9      50/tiZ/tI      Af1S
                               68'8bZ`LLZZ         8L'OS      $    00'85£`£-     SO/OZ/11     'PISS
                                ~SS`i~5£~SOL~      8['09      $    00'tiL£`I     SO/60/li       1~f1S
                               £t~'008'tii£~       Gti'O8     $    00'it6`£-      SO/60/I1    'TI3S
                                ~05'ZZO`89~        05'08      3    00'St~B        SO/BO/I1      Aflfi
                                ~IS'LSS`L68~       £ti'08     S    00'09i`iT      SO/80/tl      .~flg
                                ~00'Oti£`E9Z41     08'6L      S    00'00£`£       SO/80/[l      Aflg
                              (00'OS£'6iS~         06'6L      S     00'005`9      SO/LO/Tl      ~i[1S
                                ~SZ'Z6S`SLI~        LI'SL     3     00'9L£`Z      SO/ZO/il      Af1S
                                X60"SOS`SLZE~       OZ'SL     3     00'LL£`Z      SO/IO/ii      ~iilg
                                ~£B'tii£'ti6Zfa    8i'SL      $     00'Si6`£      SO/8Z/OI      1U18
                                ~8b'ti8`86£E)       £tr't+L   $     00'55£`5      50/LZ/OI      1S,f1~
                                ~G6'80£`ZLS~        £L'SL     $     00'LSS`L      SO/9Z/OI      ~flg
                                ~OL'Z£ti`i£b~       bL'SL     3     00'969`5      SO/SZ/OI      ~(1S
                                ~64'L£0`t~5ti~      tiS'Z8    $     00'iOS~S      S019Z/60      ~flg
                                ~QS'LGT`tiZ~~       ~b8'fi8   ~     00'000`5      SO/9i/60      1~flg
                                 ~69'9LG'Z8£S)      £i'£8     $     00'L09`ti     SO/bi/GO      1~llg
                              (8£"£G£'OZ8~          £8'6L     S     00'LLZ`OI     SO/OE/80      ACIg
                                 ~SL'80£`£99`I~     iL'6L     3     00'998`OZ     50/6Z/80      AIIg
                                 ~LS'L£8`b81~       £b'6L     3     00'LZ£`Z      SO/SZ/80      Allff
                              (LO'L9G`I~            89'SL     #     00'SZ         SO/tiZ/80     ~iflg
                                 ~ZS'tiZ0`LL£`I~    OS'6L      t    OQ'ZZ£`Ll     SO/'6Z/80      Af1S
                                 ~S9'£59`8il#)      fiL'8L    $     00'LOS`i      SO/~Z/80       Aflg
                              (ZS'G6£`ObZ`L~        Li'6L     $     OD'899`St     SO/£Z/80       Af1S
                                 ~8b'OSL`£££~       ZO'GL      ~    00'bZZ`tr     SO/£Z/80      Ji(lg
                                 ~Z8'ILti`88i`I~    68'8L     $     00'S90`Si     SO/ZZ/80      1~f1S
                                 ~00'S06`6LE~..     86'6L     3     00'OSL`~      SO/Li/80       1Lf1S
                                 ~LZ'8IZ`6£Z~       SS'6L      S    00'L00`£      SO/LI/80      .?~(1S
                                 ~£~b'IG9`£t£~      £6'08     $     00'OOG`£      50/91/80      .~f1S
                                 ~69'tr09`L6Z~       £ti'OS    $     W'OOL`£      SO/9Z/80       J~.fIS
                                 ~£0't~Z8`ZSit~      £b'08     S    00'006`i      SO/9i/80       ~(1S
                                 ~ZO'Sb6`69£~        £b'08     t    00'004`ti     SO/9T180      .~f1S
                                 ~00'9£1`ZLZ~       t~0'OS     $    00'OOb`£      SO/9i/80      .Ulg
                                  ~L6'LZ£`Z9Z~      ZS'OS      $    00'9SZ`£      SO/9L/80       ~f1S
                          ~                                         ~
                                      #:22425
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   BUY      04/12/06      11,175.00 S     70.14      ($783,7b6.45)
   SELL     04/17/OG      -4,496.00 ~     69.83   ~     $313,9G6.71
   SELL     04J20/06      -8,589.00 E     b8.21         $585,863.47
   SELL     04/24/06    -19,399.00 $      GG.75      21,294,954.05
   BUY      05/01/06        4,20200 Z     67.24      ($282,549.21)
  SELL      05J02/06      -5,787.00 $     G5.93         $381,554.54
   SELI.    05/04/Ob    -12,824.00 $      67.09        ;860,415.24
   SELL     OS/10/OG      -9,030.00 ~     68.12        ;615,089.35
   SPAL     05/12/06      -6,583.00 s     67.86        $446,699.44
  SELL      05/16/06      -6,439.00 $     69.33         $446;418.90
  SP,LI,   05/17/06       -2,741.00 $     G8.G4        $188,149.35
  BUY      05/22/06         5,215.00 ~    G8_S1      (;355,180.09)
  SELT..    05/25/06    -10,Q6G.00 $      67.82        $682,659.17
  SELL     05/30/06       -4,857.00 ~     67.61        =328,396.45
  SEI,I,   06/02/06     -11,003.00 $      68.63        $754,938.85
  SELL      OG/OS/OG      -5,967.00 ~     G7.7a        f403,964.82
  SELL     06/12/06       -4,967.00 ~     67.56        3335,654.08
  BUY      06/15/06        4,600.00 ~     67.34      ($309,775.04)
  BUY      06/15/06           500.00 ~    67.48       ($33,737.50)
  SELL     06/19/06       -3,059.00 E    66.06         ;202,089.99
  BUY      06/23/06          300.00 $    65.22        ($19,564.50)
  SEL"     06/26/06       -3,863.00 $    64.69         2249,892.$8
  SELL     06/27J06       -1,717.00 S    64.33         X110,454.30
  SELL     07/11/06       -4,114.00 g    66.67         6274,296.63
  SELL     07/12/06       -3,358.00 $    66.46         (223,183.95
  BUY      07/25/06        6,839.00 $    G7.G1       (E462,371.80)
  SUY      07/28/06          400.00 #    69.12        ($27,646.00)
  SELL     07/31/OG       -3,012.00 ~    69.73         ;210,035.37
  BUY      OS/Q9/DG        2,453,00 ~    67.99       (E166,768.30)
  SUY      08/22/06        4,042.00 $    67.23       ($275,093.29)
  BUY      08/23/06        1,300.00 $    67.19        (87,345.18)
  BUY      08/29/06    ~ 1,200.00 Z      68.69        (f82,430.64}
  BUY      08/30/06        3,567.00 ;    68.30      (~244,99G.40)
  BUY      09/05/06        9,206.00 $    69.05     .(;635,639.32)
  BUY      09/06/06      12,263.00 $     68.69      (=842,356.51)
  $UY      09/18/06        1,660.00 $    69.80      ($115,859.70)
  BUY      09/19/06        3,070.00 #    69.68      ($213,920.3'
  BtJY     09/21/06        5,496.00 $    71.97      (;395,555.91)
  BUY      09/25/06        3,113.00 $    70.83      (3220,506.55)
  BUY      09/28/06        7,454.00 $    71.72      (;534,611.32)
  BUY      10/03/06      14,797.00 $     71.29    ($1,054,833.74)
  BIJY     10/03JOG        8,531.00 j    71.10      (=606,580.55)
  BUY      10/04/06      10,954.00 ;     72.42      (5793,274.43)
  SUY      10/05/06      10,954.00 $     73.93      ($809,800.74)
  SELL     ~0/fl6/06     -1,377.00 $     73.82         ElO1,G52.93
  BUY      1Q/10/UG        1,697.00 $    73.61      (;124,921.94)
  SELL     10/30/06      -2,624.00 $     76.27         X200,]43.39
  BI7Y     11/08/06     64,774.00 ~ $    74.79    (~4,844,395.G~
  BUY      11/09/06      11,400.00 $     74.30      ($847,014.30)
  BL1Y     11/13J0G        9,427.00 $    72.84      ($G8G,706.0~
  BUY      11/15/06          512.Q0 S    73.41     .. ($37,586.48)
  BUY      ]1/15/06      17,306.00 $     73.54    (1,272,607.34}




                                                                               82
£8
                                ~05'Z00`LT~)        89'9S    S 00'00£          LO/LZ/£0     1if1S
                               Z9'SO£`LI$           £5'9S    $ 00'OOZ-         LO/LZ/£0    TICS
                               ~Sb'QZ9`LOt~         GG'6S    3 00'~66L`l       LO/IZ/£0     Af1S
                               ~68'SSO`Z£0`i3)      Sti'6S   S 00'I9E`LL       LO/OZ/£0     Jif1S
                               ~Oti'Ob0'9G~        60't9     3 00'ZLS~i        LA/£I/£0     Nl~
                               ~L~'6S6`£895~        ZZ'09    Z 00'G4£~it       LO/Zt/£0     Aflfi
                               9£'£ZZ`SOtf         06'i9     $ 00'OOL`l-       LO/80/£4   'I'I3S
                               ~ti9'tr85`L6Z~T$)    S6'I9    Z 00'StiG`OZ      LO/ZO/£0     A(1S
                              0£'IZZ`9~             iZ'Z9    $ 00'OOL-        LO/t0/£0    'TTdS
                               ~L9'L6L`95£~        86'99     $ 00'LZ£`5       LO/IZ/Zb      ACIg
                               ~58'£Z~'8583)        L9'99    S 00'b88`ZI       LO/OZ/ZO    1~,(1S
                               ~ti'OG9`£S£~        SI'L9     S 00'L9Z`S       LO/9T/ZO     1~flg
                               ~06'959`ZZi~3)      9£'89     t 00'£8I'9       LO/SI/ZO     1~(1S
                               ~98'8£9`Si~~ L~     £L'G9     ~ 00'£0£`OZ      LO/SO/ZO      Afl$
                               ~OL'bLI`££8!1       ZL'OL     $ 00'ISL`Ti      LO/0£/IO     Af1S
                              ~9Z'£S9~I6E`IS~      9£'OL     $ 00'8LL`6i      LQ/6Z/IO     1~f1S
                              G9'Sti£`bS#          8I'bL     t 00'OD8'        LO/6t/l0    'TICS
                              ~Z9'86Z`6LZ`t$)      LS'£L     t 00'SOS`9L      LO/8t/IO     Af1S
                              ~I£'ZOS`bZL`£~       tiL'£L    $ 00'9IS'OS      LO/LZ/TO     ~(lg
                              ~S£'0£C965`£~        £L'tL     ~ 00'Sf+ibS      LO/l.i/i0    .If1S
                              ~S£'099'ti88`Z~      L6'OL     E 00'~'b9`Ob     LO/OZ/IO     1~f1S
                              ~8b'Oti8'S£i`I~      ZZ'TL     E 00'6~6`Si      LO/8Q/i0     .If1S
                              ~££'II8`ZtiG$)       65'iL     $ , 00'OLt`£[    LO/SO/LO     ~.Ilfi
                              ~89'Z4£'S8G1~        £I'69     S 00'£SZ`tit     LO/£0/i0     ~flg
                              ~9CiSi`I4Z~          Z£'G9     i 00'6Lti`£      t0/£0/i0     1~flS
                              ~SS'ti[Z'6Zb`Z$)     L9'G9     ~ 00'6[S`OZ      90/OZ/ZI     Xf1S
                              ~£0'OtiZ`£SS`i$~     OG'69     $ 00'ZZZ`ZZ      40/6I/ZI     AfIS
                              ~6S'LIO`£L£`t~       08'OL     ~ 00'Z6£'6I      90/SL/Zl     ~Ilg
                              LL'Sti9~b5ZS         Z8'69     ~ 00'L~69'£-     90/bT./ZI   Tli3S
                              ~G9'990`LLb~         9L'69     $ 00'LOO~tii     90/£i/Zi    .I(]g
                              ~96'EO£`£SZ`L~       9S'69     4 OQ'LIO'8I      90/ZL/ZL     1Cflg
                              tSL'4L0'~09~         IO'QL     # 00'824`8       90/it/ZL     Aflg
                             (s£'~s~`~oi~          ~~~os     t oozz~`t        ~/so/zt     +xaz,
                              ~96'i~`SII~          6G'9L     $   00'OOS`I     90/80/ZI    +may
                              ~iL'G£9`SIi~         £4'08     3   00'SL~6`t    90/80/Zi    +~3,i,
                             S£'£££`90IE           £b'08     ~   00'ZZ£`L-    90/80/ZI     -ZI3,L
                             9G'ti8b`SiT$          G6'9L     S   QO'005'I-    90/8Q/ZL     '2I3.L
                              IL'6£9`BIi~          ~~Y'08    Y   00'SLti`i-   90/80/ZI     -~I3.L
                              ~L.L'(?ti8`9££`I~    6£'69     $   00'99Z`6L    9Q/LO/ZI     1LRH
                             ~88'9L0~9S9`i#~       £9'69     $   00'£8L'£Z    90/90/Z[      A[1S
                              ~S£'~6£5`t£~         LO'69     ¢   00'005       90/SO/ZI     1iAH
                             ~9~b'SOI`tiS0`i~~     80'69     t   00'65Z`Si    90/SO/Z[     A[1S
                             ~bZ'9(}6`94I~L1~      SO'64     S   00'Z09`9i    90/40/Z[     1if1S
                             {IZ'~6t`ti£6~         0£'69     S   00'T8ti`~L   96/b0/ZI     Af1S
                             ~9£'SZO`9t~S~         LI'ZL     S   00'99S`L     90/6Z/LC     Af1S
                             ~IO'809'6£L`it)       tGtL      $   00'Z6I`~Z    90/LZ/II     ~[1S
                             ~£8'Z51`£56~.         48ZC      $   QO'980`£I    9U/tiZ/[T    1i(lg
                             ~6ti'O1S`8~L`LS)      46'ZL     $   00'ZL6`£Z    90/IZ/ti     .i.f1S
                             ~£L'LSI`LSI`Z~        Lti'£l.   $   00'08b`6Z    90/OZ/[I     Af1S
                             ~L6'6ZZ`tZ6`i~        ZS'ZL     $   00'£6ti`9Z   90/Li/[I     1L[1S
                             ~tii'Sti£`L6~         £0'£L     i   00'£~£`T     90/9t/II     Xf1S
                             ~9i'8£5`65i'Zt)       96'ZL     #   0~'86S`6Z    90/9i/El     XI1S
                          ~
                          '
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                                           PROOF OF ERVICE
       STATE OF' CALIFORNIA
   2
       COUNTY OF LOS ANGELES
   3
              I,the undersigned, declare:
   4
              I am employed in the County of Los Angeles, State of California. I am over
   5
       the age of 18 and not a party to the within action; my business address is 707
   6
       Wilshire Boulevard, Suite 4100, Los Angeles, California 90017
   7
              CONSOLIDATED AMENDED CLAS5 ACTION COMPLAINT FOR
   8          VIOLATION OF FEDERAL SECURITIES LAWS
   9 on the interested parties in this action by placing true copies thereof enclosed in
  10 sealed envelopes addressed as stated on the attached service list, as
  11    X     BY MAIL:
              I am "readily familiar" with the firm's practice of collection and processing
  12          correspondence for mailing. Under that practice, it would be deposited with the U.S.
              Postal Service on that same day with postage thereon fully prepaid at Los Angeles,
  13          California in the ordinary course of business. I am aware that on motion of the party
              served, service is presumed invalid if postal cancellation date or postage meter date is
  14          more than one day after date of deposit for mailing in affidavit.

  15          BY PERSONAL SERVICE:
              I caused such envelope to be delivered by hand to the offices ofthe addressees) noted
  16          below:

  17          BY FEDERAL EXPRESS OR OVERNIGHT COURIER
  18          BY ELECTRONIC MAIL:
              I caused said documents to be transmitted by electronic mail to the e-mail addresses)
  19          noted below:

  20          BY TELECOPIER:
              I caused said documents to be transmitted by facsimile at the numbers listed below:
  21
          (State) I declare under penalty of perjury under the laws ofthe State of
  22 ~( i~ornia that the above is true and correct.
  23   X (Federal) I declare that I am employed in the office of a member ofthe bar
       ohis Court at whose direction the service was made.
  24
  25          Executed on October 1, 2007, at Los Angeles,
  26
                          of Yr1nt Name
  2~
  28

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                                           SERVICE LIST
   2
     Marc M Seltzer
   3 Ryan C. Kirkpatrick
     Susman Godfrey
   4 1901 Avenue of-the Stars, Suite 950
     Los Angeles, CA 90067-6029
   5 310-789-3102
   6 Matthew P Monte~gornery
     Barak Rodos & Sacine
   7 402 W.Broadwa ,Suite 850
     San Diego, CA 9~ 101
   8 619-231-1051
   9 Michael F Ghozland
      Ramzi Abadou
  10 Lerach Coughlin Stoia Geller Rudman and Robbins
      9601 Wilshire Boulevard, Suite 510
  1 1 Los Angeles, CA 90210
      310-859-3100
  12
      Darren J Robbins
  13 Susan G Taylor
      Lerach Coughlin Stoia Geller Rudman and Robbins
  14 655 West Broadway, Suite 1900
      San Diego, CA 92101
  15 619-231-1058
  16 Karen Hanson Riebel
     Richard A. Lockridge
  17 Lockridge Grindal Nauen
     100 Washington Avenue South, Suite 2200
  18 Minneapolis, NIN 55401-2159
     612-33g-6900
  19
     Joseph C. Kohn
  20 Dennis Sheils
     Kohn Swift &Graff
  21 1 South Broad Street, Suite 2100
     Philadelphia, PA 19107-2924
  22 215-238-1700
  23 Bruce W Leppla
     Joy A. Kruse
  24 Richard M. Heimann
     Lieff Cabraser Heimann and Bernstein
  25 275 Battery Street
     San Francisco, CA 94111-3339
  26 415-956-1000
  27
  28

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   1 Arthur Stock
     Barbara Podell
   2 Glen Abramson
     Sherrie R. Savett
   3 Berger &Montague
     1622 Locust Street
   4 Philadelphia,PA 19103-6365
     215-875-3000
   5
     Alan I Ellman
   6 Andrei V Rado
     Baxbara J Hart
   7 Christopher J Keller
     Christopher J McDonald
   8 Mark Arisohn
     Labaton Sucharow LLP
   9 140 Broadw~ay
     New York, New York 10005
  10 212-907-0700
  1 1 Mark I Labaton
      Kreindler & Kreindler LLP
  12 707 Wilshire Boulevard, Suite 4100
      Los An eles CA 90017
  13 213-62~649
  14 Jeff S Westerman
     Sabrina S Kim
  15 Milberg Weiss and Bershad
     One California Plaza
  16 300 South Grand Avenue, Suite 3900
     Los Angeles, CA 90071
  17 213-617-1200
  18 Christoph~er Kim
     Lisa. J.Yang
  19 Nicolas Oril~uela
     Lim R~u~ ger &Kim
  20 1055 W 7th St Ste 2800
     Los Angeles, CAA 90017
  21 213-955-9500
  22 Timothy J Burke
     Stull Stull and Brody
  23 10940 Wilshire Boulevard, Suite 2300
     Los Angeles CA 90024
  24 310-209-248
  25 John Nadolenco
     Mack Anderson
  26 Steven O. Kramer
     Ma~yer Brown Rowe and Maw
  27 35Q South Grand Avenue 25th Floor
     Los Angeles, CA 90071- ~503
  28 213-22g-9500

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                              r"\                    ,'"~.



     Michael M Goldberg
     Robert W Kellerman
   2 Glancy Binkow and Goldberg
     1801 Avenue ofthe Stars, Suite 311
   3 Los Angeles CA 90067
     310-20I-91 ~0
   4
     D Seamus Kaskela
   5 Richard A Maiskas
     Schiffrin Barroway Topaz and Kessler
   6 280 King of Prussia Road
     Radnor PA 19087
   7 610-661-7706
     Evan J Smith
     Steven 5. Wang
   9 Brods~k~y and Smith
     9595 Wilshire Boulevard, Suite 900
  10 Beverl Hills CA 90212
     310-3~0-842
  11
     Frederic S Fox
  12 Jeffrey P. Campisi
     Joel B. Strauss
  13 Kaplan Fox and Kilsheimer
     8053rd Avenue,22nd Floor
  14 New York, NY 10022
     212-687-1980
  15
     Joe Tabacco
  16 Nicole Lavallee
     Berman DeValerio Pease Tabacco Burt & Pucillo
  17 425 California Street, Suite 2025
     San Francisco, CA 94104-2205
  18 415-433-3200
  19 Lori S Brody
     Kaplan Fox and Kilsheimer
  20 1801 Century Park East Suite 1460
     Los Angeles, CA 9006'
  21 310-785-0800
  22 Lee A Webb
     Robert W. Kellerman
  23 Stoll Keenon Ogden
     500 West Jefferson Street Suite 2000
  24 Louisville KY 40202
     502-333-000
  25
  26
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